Case 2:19-cv-08972-CBM-FFM Document 33 Filed 05/29/20 Page 1 of 59 Page ID #:439



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11
                      THE UNITED STATES DISTRICT COURT
12                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
13
14
     SETH SHAPIRO,                           Case No. 2:19-cv-8972
15
16                Plaintiff,                 FIRST AMENDED CIVIL
17          v.                               COMPLAINT

18   AT&T MOBILITY, LLC,
                                             DEMAND FOR JURY TRIAL
19
                  Defendant.
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                               AMENDED CIVIL COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 33 Filed 05/29/20 Page 2 of 59 Page ID #:440




1    I.     NATURE OF THE ACTION
2           1.     This action arises out of AT&T’s repeated failure to protect its
3    wireless cell service subscriber—Seth Shapiro—from its own employees, resulting
4    in massive and ongoing violations of Mr. Shapiro’s privacy, the compromise of his
5    highly sensitive personal and financial information, and the theft of approximately
6    $1,921,355.80.
7           2.     AT&T is one of the country’s largest wireless service providers. Tens
8    of millions of subscribers entrust AT&T with access to their confidential
9    information, including information that can serve as a key to unlock subscribers’
10   highly sensitive personal and financial information.
11          3.     Recognizing the harms that arise when wireless subscribers’ personal
12   information is accessed, disclosed, or used without their consent, federal and state
13   laws require AT&T to protect this sensitive information.
14          4.     AT&T also recognizes the sensitivity of this data, and promises its
15   subscribers that it “will protect the privacy of our customers,” will “safeguard the
16   privacy of [customers’] personal identifying information,” and “[will] not sell,
17   trade or share [customers’] CPNI — including [their] calling records — with
18   anyone outside of the AT&T family of companies or with anyone not authorized to
19   represent us to offer our products or services, or to perform functions on our behalf
20   except as may be required by law or authorized by [the customer].”1 AT&T
21   repeatedly broke these promises.2
22          5.     In an egregious violation of the law and its own promises, and despite
23   advertising itself as a leader in technological development and as a cyber security-
24
25   1
       “Privacy Policy,” AT&T, effective June 16, 2006,
     web.archive.org/web/20060618204925/http://www.att.com/privacy/policy/, attached hereto as
26
     Exhibit A.
27   2
       On information and belief, the terms of AT&T’s Privacy Policy remained similar throughout
     the duration of his contract. See Exhibit A1, “Privacy Policy,” AT&T, effective May 2,
28   2017,https://web.archive.org/web/20180519020538/http://about.att.com/sites/privacy_policy/full
     _privacy_policy.
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                                AMENDED CIVIL COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 33 Filed 05/29/20 Page 3 of 59 Page ID #:441




1     savvy company, AT&T repeatedly failed to protect Mr. Shapiro’s account and the
2     sensitive data it contained. AT&T failed to implement sufficient data security
3     systems and procedures and failed to supervise its own personnel, instead standing
4     by as its employees used their position at the company to gain unauthorized access
5     to Mr. Shapiro’s account in order to rob, extort, and threaten him in exchange for
6     money.
7           6.     AT&T’s actions and conduct were a substantial factor in causing
8     significant financial and emotional harm to Mr. Shapiro and his family. But for
9     AT&T employees’ involvement in a conspiracy to rob Mr. Shapiro, and AT&T’s
10    failure to protect Mr. Shapiro from such harm through adequate security and
11    oversight systems and procedures, Mr. Shapiro would not have had his personal
12    privacy repeatedly violated and would not have been a victim of SIM swap theft.
13          7.     Mr. Shapiro brings this action to hold AT&T accountable for its
14    violations of federal and state law, and to recover for the grave financial and
15    personal harm suffered by Mr. Shapiro and his family as a direct result of AT&T’s
16    acts and omissions, as detailed herein.
17   II.    THE PARTIES
18          8.     Plaintiff Seth Shapiro is, and at all relevant times was, a resident of
19    California. Mr. Shapiro currently resides in Torrance, CA, with his wife and two
20    young children.
21           9.    Mr. Shapiro is a two-time Emmy Award-winning media and
22    technology expert, author, and adjunct professor at the University of Southern
23    California School of Cinematic Arts. He regularly advises Fortune 500 companies
24    on business development in media and technology.
25          10.    Mr. Shapiro is a former AT&T wireless customer. He purchased a
26    wireless cell phone plan from AT&T in Los Angeles, California in approximately
27    2006 for personal use and was an active, paying AT&T wireless subscriber at all
28    times relevant to the allegations in this Complaint.
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                             AMENDED CIVIL COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 33 Filed 05/29/20 Page 4 of 59 Page ID #:442




1           11.    Defendant AT&T Mobility, LLC (hereinafter, “AT&T”) is a Delaware
2    limited liability corporation with its principal office or place of business in
3    Brookhaven, Georgia. AT&T “provides nationwide wireless services to consumers
4    and wholesale and resale wireless subscribers located in the United States or U.S.
5    territories” and transacts or has transacted business in this District and throughout
6    the United States. It is the second largest wireless carrier in the United States, with
7    more than 153 million subscribers, earning $71 billion in total operating revenues
8    in 2017 and $71 billion in 2018. As of December 2017, AT&T had 1,470 retail
9    locations in California.3
10          12.    AT&T provides wireless service to subscribers in the United States.
11   AT&T is a “common carrier” governed by the Federal Communications Act
12   (“FCA”), 47 U.S.C. § 151 et seq. AT&T is regulated by the Federal
13   Communications Commission (“FCC”) for its acts and practices, including those
14   occurring in this District.
15          13.    AT&T Inc., AT&T’s parent company, acknowledged in its 2018
16   Annual Report that its “profits and cash flow are largely driven by [its] Mobility
17   business” and “nearly half of [the] company’s EBITDA (earnings before interest,
18   taxes, depreciation and amortization) come from Mobility.”4
19          14.    Despite the importance of its mobility business, instead of focusing on
20   ramping up security for its customers, AT&T Inc. instead went on an historic
21   acquisition spree costing over $150 billion, acquiring: Bell South (including
22   Cingular Wireless and Yellowpages.com), Dobson Communications, Edge
23   Wireless, Cellular One, Centennial, Wayport, Qualcomm Spectrum, Leap Wireless,
24   DirecTV, and Iusacell and NII Holdings (now AT&T Mexico). During the same
25   period, AT&T’s mobile phone business was rated as the worst among major
26   providers. Consumer Reports named it the “worst carrier” in 2010, and the next
27   3
       “About Us,” AT&T, https://engage.att.com/california/about-us/. All URLs in this complaint
28   were last accessed on May 29, 2020.
     4
       Id.
                                              3
                              AMENDED CIVIL COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 33 Filed 05/29/20 Page 5 of 59 Page ID #:443




1    year, J.D. Power found AT&T’s network the least reliable in the country—a
2    dubious achievement that it also earned in prior years. Little wonder that its
3    customers were the least happy of subscribers of the Big Four carriers according to
4    the American Consumer Index. In the meantime, AT&T Inc. completed the $85.4
5    billion purchase of Time Warner Inc.—the owner of HBO, Warner Bros, CNN,
6    Turner Broadcasting, Cartoon Network, Turner Classic Movies, TBS, TNT and
7    Turner Sports.
8    III.     JURISDICTION AND VENUE
9            15.   This Court has jurisdiction over this matter under 28 U.S.C. § 1331
10   because this case arises under federal question jurisdiction under the Federal
11   Communications Act (“FCA”). The Court has supplemental jurisdiction under 28
12   U.S.C. § 1367 over the state law claims because the claims are derived from a
13   common nucleus of operative facts. The Court also has jurisdiction over this
14   action pursuant to 28 U.S.C. § 1332 because Mr. Shapiro is a citizen of a different
15   state than AT&T.
16           16.   This Court has personal jurisdiction over AT&T because AT&T
17   purposefully directs its conduct at California, transacts substantial business in
18   California (including in this District), has substantial aggregate contacts with
19   California (including in this District), engaged and is engaging in conduct that has
20   and had a direct, substantial, reasonably foreseeable, and intended effect of causing
21   injury to persons in California (including in this District), and purposely avails
22   itself of the laws of California. AT&T had more than 33,000 employees in
23   California as of 2017, and 1,470 retail locations in the state.5 Mr. Shapiro
24   purchased his AT&T wireless plan in California, visited AT&T retail locations in
25   California, and was injured in California by the acts and omissions alleged herein.
26           17.   In accordance with 28 U.S.C. § 1391, venue is proper in this District
27   because a substantial part of the conduct giving rise to Mr. Shapiro’s claims
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     5
         “About Us,” AT&T California, supra at 1.
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                              AMENDED CIVIL COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 33 Filed 05/29/20 Page 6 of 59 Page ID #:444




1    occurred in this District and Defendant transacts business in this District. Mr.
2    Shapiro purchased his AT&T wireless plan in this District and was harmed in this
3    District, where he resides, by AT&T’s acts and omissions, as detailed herein.
4    IV.    ALLEGATIONS APPLICABLE TO ALL COUNTS
5          18.    As a telecommunications carrier, AT&T is entrusted with the sensitive
6    wireless account information and personal data of millions of Americans, including
7    Mr. Shapiro’s confidential and sensitive personal and account information.
8          19.    Despite its representations to its customers and its obligations under
9    the law, AT&T has failed to protect Mr. Shapiro’s confidential information. On at
10   least four occasions between May 16, 2018 and May 18, 2019, AT&T employees
11   obtained unauthorized access to Mr. Shapiro’s AT&T wireless account, viewed his
12   confidential and proprietary personal information, and transferred control over Mr.
13   Shapiro’s AT&T wireless number from Mr. Shapiro’s phone to a phone controlled
14   by third-party hackers in exchange for money. The hackers then utilized their
15   control over Mr. Shapiro’s AT&T wireless number—including control secured
16   through cooperation with AT&T employees—to access his personal and digital
17   finance accounts and steal more than $1.9 million from Mr. Shapiro.
18         20.    This type of telecommunications account hacking behavior is known
19   as “SIM swapping.”
20         A.     SIM Swapping is a Type of Identity Theft Involving the Transfer
21                of a Mobile Phone Number.

22         21.    On four occasions in 2018 and 2019, Mr. Shapiro was the target of
23   “SIM swapping.”
24         22.    “SIM swapping” refers to a relatively simple scheme, wherein third
25   parties take control of a victim’s wireless phone number. The hackers then use that
26   phone number as a key to access the victim’s digital accounts, such as email, file
27   storage, and financial accounts.
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                            AMENDED CIVIL COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 33 Filed 05/29/20 Page 7 of 59 Page ID #:445




1          23.    Most cell phones, including the iPhone owned by Mr. Shapiro at the
2    time of his SIM swaps, have internal SIM (“subscriber identity module”) cards. A
3    SIM card is a small, removable chip that allows a cell phone to communicate with
4    the wireless carrier and the carrier to know what subscriber account is associated
5    with that phone. The connection between the phone and the SIM card is made by
6    the carrier, which pairs each SIM card with the physical phone’s IMEI
7    (“international mobile equipment identity”), which is akin to the phone’s serial
8    number. Without a working SIM card and effective SIM connection, a phone
9    typically cannot send or receive calls or text messages over the carrier network.
10   SIM cards can also store a limited amount of account data, including contacts, text
11   messages, and carrier information, and that data can help identify the subscriber.
12         24.    The SIM card associated with a wireless phone can be changed. If a
13   carrier customer buys a new phone that requires a different sized SIM card, for
14   example, the customer can associate his or her account with a new SIM card and
15   the new phone’s IMEI by working with their cell phone carrier to effectuate the
16   change. This allows carrier customers to move their wireless number from one cell
17   phone to another and to continue accessing the carrier network when they switch
18   cell phones. For a SIM card change to be effective, the carrier must authenticate
19   the request and actualize the change. AT&T allows its employees to conduct SIM
20   card changes for its customers remotely or in its retail stores.
21         25.    A SIM swap refers to an unauthorized and illegitimate SIM card
22   change. During a SIM swap attack, the SIM card associated with the victim’s
23   wireless account is switched from the victim’s phone to a phone controlled by a
24   third party. This effectively moves the victim’s wireless phone—including access
25   to incoming data, texts, and phone calls associated with the victim’s phone—from
26   the victim’s phone to a phone controlled by the third party (also referred to herein
27   as a “hacker”). The hacker’s phone then becomes the only phone associated with
28   the victim’s carrier account, and the hacker receives all of the text messages and
                                       6
                            AMENDED CIVIL COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 33 Filed 05/29/20 Page 8 of 59 Page ID #:446




1    phone calls intended for the victim.6 Meanwhile, the victim’s phone loses its
2    connection to the carrier network.
3           26.    Once hackers have control over the victim’s phone number, they can
4    use that control to access the victim’s personal online accounts, such as email and
5    banking accounts, through exploiting password reset links sent via text message to
6    the now-hacker-controlled-phone or the two-factor authentication processes
7    associated with the victim’s digital accounts. Two-factor authentication allows
8    digital accounts to be accessed without a password, or allows the account password
9    to be changed. One common form of two-factor authentication is text messaging.
10   Rather than enter a password, the hacker requests that a password reset be sent to
11   the mobile phone number associated with the account. Because the hacker now
12   controls that phone number, the reset code is sent to them. The hacker can then log
13   into, and change the password for, the victim’s email, financial and other accounts,
14   allowing them to access the contents of the account.7
15          27.    The involvement of a SIM swap victim’s wireless carrier is critical to
16   a SIM swap. In order for a SIM swap to occur and for a SIM swap victim to be at
17   any risk, the carrier must receive a request to change a victim’s SIM card and
18   effectuate the transfer of the victim’s phone number from one SIM card to another.
19          28.    In Mr. Shapiro’s case, not only did AT&T employees access his
20   account and authorize changes to that account without Mr. Shapiro’s consent, but
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     6
       As described by federal authorities in prosecuting SIM swap cases, SIM swapping enables
22   hackers to “gain control of a victim’s mobile phone number by linking that number to a
23   subscriber identity module (‘SIM’) card controlled by [the hackers]—resulting in the victim’s
     phone calls and short message service (‘SMS’) messages being routed to a device controlled by
24   [a hacker].” United States of America v. Conor Freeman, No. 2:19-cr-20246-DPH-APP (E.D.
     Mich. Filed Apr. 18, 2019) (hereafter, “Freeman Indictment”), ECF. No. 1 ¶ 3 (attached hereto as
25   Exhibit B).
     7
       See, e.g., id. at ¶ 4 (“Once [hackers] had control of a victim’s phone number, it was leveraged
26
     as a gateway to gain control of online accounts such as the victim’s email, cloud storage, and
27   cryptocurrency exchange accounts. Sometimes this was achieved by requesting a password-reset
     link be sent via [text messaging] to the device control by [hackers]. Sometimes passwords were
28   compromised by other means, and [the hacker’s] device was used to received two-factor
     authentication (‘2FA’) message sent via [text message] intended for the victim.”).
                                                   7
                                  AMENDED CIVIL COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 33 Filed 05/29/20 Page 9 of 59 Page ID #:447




1    its employees actively profited from this unauthorized access by knowingly giving
2    control over his phone number to hackers for the purposes of robbing him.
3          B.     AT&T Allowed Unauthorized Access to Mr. Shapiro’s Account
4                 Four Times Over the Course of Approximately One Year.

5          29.    Between May 16, 2018 and May 18, 2019, AT&T employees accessed
6    Mr. Shapiro’s AT&T wireless account without his authorization, obtained his
7    confidential and proprietary personal information, and sold that information to
8    third parties who then used it to steal from Mr. Shapiro, access his sensitive and
9    confidential information, and threaten his family.
10         30.    On May 16, 2018 at approximately 1:35 PM ET, Mr. Shapiro’s AT&T
11   SIM card was changed without his knowledge or authorization for the first time.
12         31.    At the time of the SIM swap, Mr. Shapiro was attending a conference
13   in New York City. He noticed that his AT&T cell phone had lost service. Mr.
14   Shapiro’s device was no longer connected to the AT&T wireless network, and he
15   was no longer able to place or receive wireless calls.
16         32.    Mr. Shapiro immediately suspected that a SIM swap attack was
17   underway and called AT&T to secure his account. Mr. Shapiro informed the AT&T
18   customer service agent that he suspected his account had been accessed without
19   authorization and that he was in possession of large amounts of digital currency,
20   which he feared could be at risk.
21         33.    During his call with AT&T, Mr. Shapiro repeatedly asked to speak to
22   upper management or to be connected to the AT&T department responsible for
23   security. AT&T records confirm Mr. Shapiro’s request to speak to the fraud
24   department. Mr. Shapiro was (incorrectly) told that no such department existed,
25   and his call was never escalated to management. Instead, he was put on lengthy
26   holds and ultimately told to turn off his phone and go to an AT&T retail location
27   for further assistance. His AT&T service was then suspended.
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                            AMENDED CIVIL COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 33 Filed 05/29/20 Page 10 of 59 Page ID #:448




1             34.    Immediately upon ending the call with AT&T’s customer service, Mr.
2    Shapiro went to an AT&T retail store in Manhattan, New York.8 Upon arriving,
3    Mr. Shapiro informed AT&T employees—including an AT&T sales representative,
4    Juneice Arias—that he suspected unauthorized SIM swap activity on his account
5    and once again advised that he had confidential information and digital currency at
6    risk.
7             35.    AT&T employees told Mr. Shapiro at that time that they had noted the
8    SIM swap activity in his account. Mr. Shapiro implored AT&T for its assurance
9    that it would not allow his mobile phone number to be swapped out again because
10   the financial life or death of his family was at stake. An AT&T employee assured
11   him that they were monitoring his account and that his SIM card would not be
12   swapped again without his authorization. On this assurance, Mr. Shapiro decided
13   not to close his AT&T account.
14            36.    AT&T employees advised Mr. Shapiro to purchase a new wireless
15   phone with a new SIM card from AT&T. AT&T employees assured Mr. Shapiro
16   that purchasing a new wireless phone with a new SIM card would secure his
17   account and prevent additional SIM swap attacks. In reliance on this assurance,
18   Mr. Shapiro purchased a new iPhone for several hundred dollars, as well as a new
19   SIM card, in the AT&T retail store.9 AT&T employees then activated the new
20   phone and the new SIM card and restored Mr. Shapiro’s service, thereby allowing
21   Mr. Shapiro to regain control over his AT&T cell phone number.
22            37.    Mere minutes later—while Mr. Shapiro was still in the AT&T retail
23   store—Mr. Shapiro’s AT&T account was again improperly accessed, and the SIM
24   card associated with his phone number was changed. Mr. Shapiro again lost
25   control over his AT&T cell phone number.
26
27
28   8
         This AT&T retail store is located at 1330 Avenue of the Americas, New York, NY 10019.
     9
         “Privacy Policy,” AT&T, supra, attached hereto as Exhibit A.
                                                   9
                                  AMENDED CIVIL COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 33 Filed 05/29/20 Page 11 of 59 Page ID #:449




1          38.    Mr. Shapiro immediately informed AT&T employees that AT&T had
2    once again allowed an unauthorized SIM swap. Employees informed him that he
3    needed to wait until it was his turn to be assisted.
4          39.    Mr. Shapiro waited for approximately 45 minutes inside the AT&T
5    retail store for help from AT&T employees. In that time, third-party individuals
6    were able to use their control over Mr. Shapiro’s AT&T cell phone number to
7    access Mr. Shapiro’s personal and financial accounts and rob him of approximately
8    $1.9 million, all while Mr. Shapiro stood helplessly in the AT&T store asking for
9    the company’s help.
10         40.    While third parties had control over Mr. Shapiro’s AT&T wireless
11   number, they used that control to access and reset the passwords for Mr. Shapiro’s
12   email accounts, applications, and accounts on cryptocurrency exchange platforms,
13   including KuCoin, Bittrex, Wax, Coinbase, Huobi, Crytopia, LiveCoin, HitBTC,
14   Coss.io, Liqui, and Bitfinex. Cryptocurrency exchanges are online platforms
15   where different forms of cryptocurrency (e.g. bitcoin) are bought and sold.
16         41.    Before the May 2018 SIM swaps, Mr. Shapiro had raised funds in the
17   form of cryptocurrency for a new business venture. This capital, as well as Mr.
18   Shapiro’s personal funds, was accessed by the hackers utilizing their control over
19   Mr. Shapiro’s AT&T wireless number, although the business funds were stored
20   separately from Mr. Shapiro’s personal funds.
21         42.    By utilizing their control over Mr. Shapiro’s AT&T cell phone
22   number—and the control of additional accounts (such as his email) secured
23   through that number by utilizing two factor authentication—these third-party
24   hackers were able to access Mr. Shapiro’s accounts on various cryptocurrency
25   exchange platforms, including the accounts he controlled on behalf of his business
26   venture. The hackers then transferred Mr. Shapiro’s currency from Mr. Shapiro’s
27
28

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                             AMENDED CIVIL COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 33 Filed 05/29/20 Page 12 of 59 Page ID #:450




1    accounts into accounts that they controlled.10 In all, they stole more than $1.9
2    million from Mr. Shapiro in the two consecutive SIM swap attacks on May 16,
3    2018.
4            43.    On information and belief, the hackers also utilized their control over
5    Mr. Shapiro’s AT&T wireless number to access and steal Mr. Shapiro’s currency on
6    cryptocurrency exchanges (including Liqui.io, Livecoin, and Huobi) to which Mr.
7    Shapiro was never able to regain access.
8            44.    The hackers also used their control over Mr. Shapiro’s AT&T cell
9    phone number to access and change the passwords for approximately 15 of Mr.
10   Shapiro’s online accounts, including four email addresses, his Evernote account (a
11   web application for taking notes and making task lists), and his PayPal account (a
12   digital payment platform).
13           45.    It took Mr. Shapiro approximately 14 hours to regain access to and
14   restore control over his email and other personal accounts. By then, however, the
15   damage was done: these accounts, and all of their contents, had already been
16   compromised.
17           46.    Criminal investigations into the May 2018 breaches to Mr. Shapiro’s
18   AT&T account and the resulting theft revealed that at least two AT&T employees,
19   acting in the scope of their employment, accessed and permitted others to access
20   Mr. Shapiro’s AT&T account and the confidential information contained therein.11
21   As federal authorities describe, “These employees, while not necessarily knowing
22
     10
23      See Affidavit for Search Warrant, Florida v. Ricky Handschumacher, No. 18-cf-4271-AXWS
     (6th Dist. Fl. July 25, 2018) (attached hereto as Exhibit C) at p. 8 (explaining how hackers—
24   including hackers involved in robbing Mr. Shapiro—would “gain access to the victim’s email
     accounts and cryptocurrency exchanges . . . [and] use the victim’s funds to purchase
25   cryptocurrencies and transfer it to a accounts [sic] or wallets the [hackers] controlled.”). Due to
     the nature of cryptocurrency, this process makes it extremely difficult to track and seize the
26
     location of stolen cryptocurrency.
     11
27      See Criminal Complaint & Affidavit, United States of America v. Jarratt White, No. 2:19-mj-
     30227-DUTY (E.D. Mich. Filed May 2, 2019) (hereafter, “White Affidavit”), ECF No. 1
28   (attached hereto as Exhibit D).

                                          11
                                AMENDED CIVIL COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 33 Filed 05/29/20 Page 13 of 59 Page ID #:451




1    the entirety of [the hackers] plans, were aware that they were assisting in the theft
2    of identities of subscribers to their employer’s services.”12
3           47.    The two AT&T employees involved, Robert Jack and Jarratt White,13
4    reside in Arizona. AT&T confirmed their employment,14 their involvement in the
5    unauthorized access of Mr. Shapiro’s account,15 and their involvement in the two
6    SIM swaps that occurred on May 16, 2018.
7           48.    Specifically, criminal investigations reveal that a third-party (an
8    individual identified by authorities as “JD”) paid Jack and White to change the
9    SIM card associated with Mr. Shapiro’s AT&T account from the SIM card in Mr.
10   Shapiro’s phone to a SIM card in a phone controlled by JD and others.16
11          49.    In order to effectuate the swaps, Jack and/or White used their access
12   to Mr. Shapiro’s account—access gained through their AT&T employment—to
13   view his confidential AT&T account information and effectuate the SIM swaps
14   without Mr. Shapiro’s knowledge or consent.
15          50.    JD paid White $4,300 in exchange for White using his position,
16   knowledge, and authority as an AT&T employee to conduct SIM swaps, including
17   the May 16, 2018 SIM swaps of Mr. Shapiro.17 White then paid Jack $585.25 for
18   his involvement in the swaps.18
19
20
21
22
     12
23      Id. ¶ 8.
     13
        Id. ¶¶ 10-15 (describing White’s involvement in the unauthorized access of Mr. Shapiro’s
24   AT&T account and the resulting theft) and ¶¶ 16-19 (describing Jack’s involvement).
     14
        Id. ¶ 15 (“AT&T confirmed that WHITE was a contract employee from Tucson, Arizona.”)
25   and ¶ 16 (“Based on records provided from AT&T, ROBERT JACK, a second AT&T contract
     employee from Tucson, Arizona . . . .”)
26   15
        Id. ¶¶ 11, 15-16.
     16
27      Id. ¶¶ 11, 16-19.
     17
        Id. ¶¶ 11-12.
28   18
        Id. ¶ 19.

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                              AMENDED CIVIL COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 33 Filed 05/29/20 Page 14 of 59 Page ID #:452




1           51.     On information and belief, AT&T data shows that White and Jack
2    were prolific SIM swappers. White conducted 29 unauthorized SIM swaps in May
3    2018,19 while Jack conducted 12 unauthorized swaps that same month.20
4           52.     Criminal investigations have also identified the AT&T employees’
5    third-party co-conspirators and revealed additional information about the
6    employees’ involvements in the scheme.
7           53.     For example, police officers located documents on the computer of
8    one co-conspirator hacker (identified as “CS1”) labeled “ATT Plug.”21 In the SIM
9    swap context, a “plug” is a telecommunication carrier employee who uses their
10   knowledge and access to assist in SIM swaps.
11          54.     Investigators were also able to obtain a log of a chat conversation held
12   online between the third-party co-conspirator hackers, wherein they plotted and
13   executed the theft of Mr. Shapiro’s currency.22
14          55.     The chat begins with the group discussing working with an AT&T
15   employee to access Mr. Shapiro’s AT&T wireless account and swap his SIM card.
16   At 1:19 PM on May 16, 2018, one member of the group asks, “What is plug
17   doing[?]”23 On information and belief, this refers to the group’s AT&T plug: White
18   or Jack. The same member requests at 1:31 that another member “message [the
19   plug] and tell him hurry up[.]”24
20          56.     Beginning at 1:38, a member informs the group that the plug is “doing
21   it [right now]” and then: “It’s activated.”25 On information and belief, this refers to
22   Mr. Shapiro’s AT&T account being activated on a phone utilized by the hackers –
23
24
25   19
        Id. ¶ 15.
     20
        Id. ¶ 16.
26   21
        Ex. B at p. 7.
     22
27      Id. at Attachment A.
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        Id. at Attachment A, p. 1.
28   24
        Id. at Attachment A, p. 2.
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        Id. at Attachment A, pp. 2-5.
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                                AMENDED CIVIL COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 33 Filed 05/29/20 Page 15 of 59 Page ID #:453




1    the result of a successful SIM swap effectuated by one or more of the involved
2    AT&T employees.
3           57.     Once the SIM swap was complete, the group began using their control
4    over Mr. Shapiro’s AT&T wireless number to access his personal and financial
5    accounts. At 1:58 and 2:10 PM, the chat log shows the group using Mr. Shapiro’s
6    number (which they share over the chat) to access and reset the passwords for his
7    email accounts.26
8           58.     At 2:18 PM, the chat log shows the group accessing Mr. Shapiro’s
9    Bittrex account and withdrawing his digital currency.27
10          59.     The individuals would not have been able to access these accounts but
11   for their utilization of Mr. Shapiro’s cell phone number, control of which was
12   obtained through the use of AT&T’s employees and systems.
13          60.     Throughout the chat, the group refers to an additional male
14   individual—the AT&T plug—helping them access Mr. Shapiro’s account. At 3:11
15   PM, one member brags, “my ATT (AT&T) guy . . . Is a supervisor . . . He ain’t ever
16   getting fired.”28
17          61.     The chat also reflects Mr. Shapiro’s attempt to regain control of his
18   AT&T account. At 3:39, one member warns that Mr. Shapiro is “trying to get
19   number back.”29 Another—referring to the AT&T co-conspirator—ask whether he
20   wants “[his] guy to swap it back?”30 At the end of the chat, a group member brags
21   that they “made 1.3 [million]” and they begin plotting about how to route the
22   stolen cryptocurrency through various accounts and currencies in order to cover
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     26
        Id. at Attachment A, pp. 5-6
26   27
        Id. at Attachment A, p. 6.
     28
27      Id. at Attachment A, p. 7 (emphasis added).
     29
        Id. at Attachment A. p. 8.
28   30
        Id.

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                               AMENDED CIVIL COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 33 Filed 05/29/20 Page 16 of 59 Page ID #:454




1    their trail.31 They also brag about plans to “buy some Gucci” or a “dream car” with
2    the money they stole from Mr. Shapiro.32
3           62.    As these hackers and AT&T employees stole Mr. Shapiro’s life
4    savings and made plans to spend it on luxury goods, Mr. Shapiro was still standing
5    in the AT&T retail store in Manhattan, NY, asking AT&T for help. He was told to
6    wait as his accounts were drained and his personal information compromised.
7           63.    After the May 2018 SIM swaps, AT&T employees told Mr. Shapiro
8    that his account would be safe from future attacks because they had put a note on
9    his account that would prevent any future SIM swaps.
10          64.    Mr. Shapiro also changed his AT&T account passcodes on the advice
11   of AT&T employees. AT&T informs its customers that these account passcodes—
12   which are different than account sign-in passwords or the passcodes used to access
13   a wireless device—are used to protect their wireless accounts and may be required
14   when a customer manages their AT&T account online or in an AT&T store.33
15   AT&T employees represented to Mr. Shapiro that this passcode would not be
16   shared with anyone, and would protect his account from future unauthorized SIM
17   swaps. Mr. Shapiro decided not to close his AT&T account in reliance on these
18   assurances.
19          65.    Mr. Shapiro’s trust in AT&T was misplaced. On November 1, 2018,
20   Mr. Shapiro again noticed that his cell phone had lost service and suspected a SIM
21   swap. Shortly thereafter, he received an alert that someone had accessed and
22   changed the password to—at minimum—his Google email accounts. This also
23   caused all information stored in this account—including sensitive and confidential
24   personal, financial, and legal information—to be compromised.
25
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     31
27      Id. at Attachment A. p. 10.
     32
        Id. at Attachment A. p. 9.
28   33
        “Get info on passcodes for wireless accounts,” AT&T,
     https://www.att.com/esupport/article.html#!/wireless/KM1049472?gsi=tp3wtr.
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                                AMENDED CIVIL COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 33 Filed 05/29/20 Page 17 of 59 Page ID #:455




1             66.    Mr. Shapiro contacted AT&T and confirmed that he had indeed been
2    SIM swapped a third time. Again, AT&T employees represented to Mr. Shapiro
3    that they had taken steps to prevent any further SIM swaps on his account.
4             67.    On May 14, 2019, Mr. Shapiro received a letter from AT&T’s Director
5    of Compliance, Nena M. Romano, informing him that “an employee of one of
6    [AT&T’s] service providers accessed [Mr. Shapiro’s] Customer Proprietary
7    Network Information [CPNI] without authorization.”34 The letter did not indicate
8    which of the three prior SIM swap attacks it concerned. It stated that AT&T had
9    “taken appropriate action” regarding the AT&T employee involved and had
10   “notified federal law enforcement concerning the unauthorized access of your
11   CPNI as required by Federal Communications Commission regulations.”
12            68.     Despite these assertions, Mr. Shapiro was SIM swapped for a fourth
13   time on May 18, 2019, at approximately 10:45 PM. Again, Mr. Shapiro lost AT&T
14   service and begun receiving alerts that the passwords for his personal digital
15   accounts had been changed.
16            69.    Mr. Shapiro immediately contacted AT&T customer service. After
17   several long holds and Mr. Shapiro’s repeated requests, his call was elevated to an
18   AT&T supervisor. The supervisor, Marcus,35 informed Mr. Shapiro that he had
19   been SIM swapped again but refused to tell Mr. Shapiro who had authorized the
20   swap.
21            70.    Mr. Shapiro asked the supervisor why the secret passcode that AT&T
22   had promised him would protect his account failed to provide that protection. The
23   AT&T supervisor refused to provide an answer.
24            71.    The supervisor then informed Mr. Shapiro that he would request that
25   his AT&T account be transferred back to Mr. Shapiro’s phone. He estimated this
26   would take between 2 and 4 hours. Meanwhile—upon information and belief—
27
28   34
          Attached hereto as Exhibit E.
     35
          The AT&T employees with whom Mr. Shapiro spoke refused to provide their last names.
                                            16
                                 AMENDED CIVIL COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 33 Filed 05/29/20 Page 18 of 59 Page ID #:456




1    hackers continued to have control over his AT&T wireless account throughout that
2    time, and used that control to access his personal and financial accounts.
3              72.    Mr. Shapiro repeatedly asked the supervisor to escalate his call to a
4    higher authority at AT&T. Eventually, he was transferred to an AT&T manager,
5    Tom. The manager informed him that in order to “reverse the unauthorized SIM
6    card change,” he would need to “file a ticket” to submit a reversal request—which
7    “normally completes within 2 to 4 hours.” He told Mr. Shapiro that he would sever
8    the line in the meantime. It took the manager several minutes to “process” the
9    ticket requesting a reversal. He then informed Mr. Shapiro that AT&T would send
10   a pin code to another active line on his AT&T account to validate the reversal
11   request. This required Mr. Shapiro to get his 12-year-old daughter out of bed, after
12   midnight, to use her phone to receive the pin code. The manager told Mr. Shapiro
13   they would “investigate” how his “account got compromised.”
14             73.    During this attack, Mr. Shapiro’s Yahoo, Google, Windows, PayPal,
15   Coinbase, and Evernote accounts—at minimum—were accessed and their contents
16   compromised. The hacker changed the passwords on his Evernote, PayPal,
17   Coinbase, and Gmail accounts (temporarily locking Mr. Shapiro out of the
18   accounts), changed the recovery email for his Gmail account to an email they
19   controlled, and deleted his Gmail security question. This also caused all
20   information stored in these accounts—including sensitive and confidential person,
21   financial, and legal information—to be compromised.
22             74.    On July 19, 2019, Mr. Shapiro received another letter from AT&T’s
23   Director of Compliance, Nena M. Romano, informing him that, once again, “an
24   employee of one of [AT&T’s] service providers accessed [Mr. Shapiro’s] Customer
25   Proprietary Network Information (CPNI) without authorization.”36 The letter did
26   not indicate which of the four SIM swap attacks it concerned. It stated that AT&T
27   had “taken appropriate action” regarding the AT&T employee involved and had
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     36
          Attached hereto as Exhibit F.
                                            17
                                  AMENDED CIVIL COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 33 Filed 05/29/20 Page 19 of 59 Page ID #:457




1    “notified federal law enforcement concerning the unauthorized access of your
2    CPNI as required by Federal Communications Commission regulations.”
3              75.    On September 6, 2019, Mr. Shapiro received a third letter from Ms.
4    Romano, informing him that “an unknown and unauthorized person gained access
5    to [Mr. Shapiro’s] Customer Proprietary Network Information (CPNI) without
6    authorization.”37 Once again, the letter did not indicate which of the four SIM
7    swap attacks it concerned. It stated that AT&T had “moved quickly to disable
8    system access to the unauthorized person” and had “notified federal law
9    enforcement concerning the unauthorized access of your CPNI as required by
10   Federal Communications Commission regulations.”
11             76.    The SIM swaps have exposed Mr. Shapiro and his family to ongoing
12   threats of physical harm and extortion. On February 10, 2019, Mr. Shapiro
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          Attached hereto as Exhibit G.
                                           18
                                 AMENDED CIVIL COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 33 Filed 05/29/20 Page 20 of 59 Page ID #:458




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21   received—on the same AT&T wireless line that had been hacked—text message
22   threats from an anonymous individual (set forth below in Figure 1).
23         77.    This individual knew Mr. Shapiro’s name and AT&T wireless number
24   and warned that they had “access to all of [his] sensitive personal information[.]”
25   The harasser also threatened an additional SIM swap and informed Mr. Shapiro
26   that they still had access to AT&T employees who would aid them in further harm
27   against Mr. Shapiro. Specifically, they warned that they had “an AT&T rep ready
28   to hand over [Mr. Shapiro’s] account to [them] at any given time[.]” They warned
                                      19
                            AMENDED CIVIL COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 33 Filed 05/29/20 Page 21 of 59 Page ID #:459




1    that they knew where Mr. Shapiro and his family lived—and sent his exact current
2    address (redacted below)—and demanded $800 to prevent harm to Mr. Shapiro and
3    his family.
4          78.     After Mr. Shapiro received these threats, a sergeant at the Santa Clara
5    County Sherriff’s Office informed Mr. Shapiro that he had personally contacted
6    AT&T to inform them of the threats and requested that they monitor Mr. Shapiro’s
7    accounts. Despite this warning, Mr. Shapiro’s account was authorized without his
8    consent, and his SIM card swapped, approximately 3 months later.
9          79.     The financial and personal lives of Mr. Shapiro and his family have
10   been devastated as a result of AT&T’s failure to safeguard Mr. Shapiro’s account.
11         80.     As a result of the May 2018 hacks detailed above, Mr. Shapiro lost
12   more than $1.9 million in digital currency. This money constituted the entirety of
13   the profits from the sale of Mr. Shapiro’s family home and his life savings. As a
14   result of the loss of that money, Mr. Shapiro and his family have not had the
15   finances to buy another home, causing feelings of instability and anxiety for the
16   whole family.
17         81.     The financial strain resulting from the robbery of Mr. Shapiro has
18   caused extreme anxiety and distress for Mr. Shapiro and his family.
19         82.     Mr. Shapiro’s wife, who previously took full time care for their young
20   child, has had to return to work due to the financial strain and pressure. As a
21   consequence of the SIM swap attacks, she has suffered from anxiety, emotional
22   distress, and loss of sleep and has had less time to see to the needs of her children.
23         83.     Mr. Shapiro’s two children have also suffered. Mr. Shapiro had to
24   undertake the difficult task of explaining the theft to his four-year-old child, who
25   now expresses fear of hackers and robbers and feelings of instability. The Shapiros
26   also have a medically fragile child, who has suffered emotional distress as a result
27   of the financial and emotional strain on the family. Both children require medical
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                             AMENDED CIVIL COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 33 Filed 05/29/20 Page 22 of 59 Page ID #:460




1    treatment as a result of the SIM swap attacks, and Mr. Shapiro has had to pay for
2    that treatment out of pocket.
3             84.    Mr. Shapiro has experienced immense harm as a result of the SIM
4    swaps. He has suffered from anxiety, loss of sleep, and extreme depression. The
5    emotional and financial consequences have also caused marital stress. Mr. Shapiro
6    has had to seek extended professional medical help as a result.
7             85.    The digital currency stolen during the SIM swap attacks also included
8    cryptocurrency raised by Mr. Shapiro for a business venture. As a result of the
9    theft, Mr. Shapiro had to end the venture and lay off all employees. He intends to
10   repay each of the investors the amount they invested in the project which was
11   stolen during the SIM swap attacks. He also suffered professional reputational
12   damages when the venture ended, and investments were lost as a result of the theft.
13            86.    Mr. Shapiro and his family’s highly sensitive and confidential
14   personal, legal, and business information have also been compromised as a result
15   of the SIM swaps. This includes color copies of their passports, their social
16   security numbers, their TSA numbers, password and log-in information for
17   additional accounts, and confidential financial, business, and legal information.
18   All of this information is now at a high risk of being posted or bought and sold on
19   the dark web by criminals and identity thieves, putting Mr. Shapiro, his wife, and
20   two young children at ongoing risk of significant privacy violations, extortion,
21   identity theft, and countless unknown harms.
22            C.     AT&T’s Repeated Failures to Protect Mr. Shapiro’s Account from
23                   Unauthorized Access Are a Violation of Federal Law.

24            87.    AT&T is the world’s largest telecommunications company and
25   provider of mobile telephone services. As a common carrier,38 AT&T is governed
26
27
28   38
          47 U.S. Code § 153(51).

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                                AMENDED CIVIL COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 33 Filed 05/29/20 Page 23 of 59 Page ID #:461




1    by the Federal Communications Act of 1934, as amended (“FCA”),39 and
2    corresponding regulations passed by the FCC.40
3           88.    Recognizing the sensitivity of data collected by cell carriers,
4    Congress, through the FCA, requires AT&T to protect Mr. Shapiro’s sensitive
5    personal information to which it has access as a result of its unique position as a
6    telecommunications carrier.41
7           89.    Section 222 of the FCA, which became part of the Act in 1996,
8    requires AT&T to protect the privacy and security of information about its
9    customers. Likewise, Section 201(b) of the Act requires AT&T’s practices related
10   to the collection of information from its customers to be “just and reasonable” and
11   declares unlawful any practice that is unjust or unreasonable.42
12          90.    AT&T’s most specific obligations to protect its customers concerns a
13   specific type of information, called CPNI.43 CPNI is defined as “information that
14   relates to the quantity, technical configuration, type, destination, location, and
15   amount of use of a telecommunications service subscribed to by any customer of a
16   telecommunications carrier, and that is made available to the carrier by the
17   customer solely by virtue of the carrier-customer relationship; and . . . information
18   contained in the bills pertaining to telephone exchange service or telephone toll
19   service received by a customer of a carrier.”44
20          91.    The FCA recognizes the privacy interest in CPNI and “requires
21   telecommunications carriers to take specific steps to ensure that CPNI is
22   adequately protected from unauthorized disclosure.”45
23
24   39
        47 U.S.C. § 151 et seq.
     40
        47 C.F.R. § 64.2001 et seq.
25   41
        47 U.S.C. § 222.
     42
        47 U.S.C. § 201(b).
26   43
        47 U.S.C. § 222(a).
     44
27      47 U.S.C. § 222(h)(1).
     45
        Report and Order and Further Notice of Proposed Rulemaking, In the Matter of
28   Implementation of the Telecommunications Act of 1996: Telecommunications Carriers’ Use of

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                             AMENDED CIVIL COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 33 Filed 05/29/20 Page 24 of 59 Page ID #:462




1           92.    Carriers such as AT&T are liable for failures to protect their
2    customers’ unauthorized disclosures.46 The FCC has also stated that “[t]o the
3    extent that a carrier’s failure to take reasonable precautions renders private
4    customer information unprotected or results in disclosure of individually
5    identifiable CPNI, . . . a violation of section 222 may have occurred.”47
6           93.    As AT&T admitted to Mr. Shapiro in its three letters,49 his CPNI was
7    breached by AT&T employees or “unknown and unauthorized person[s]” when
8    they accessed his account and swapped his SIM card without authorization. In
9    each letter, AT&T informed Mr. Shapiro that “an employee of one of [its] service
10   providers accessed [his] Customer Proprietary Network Information (CPNI)
11   without authorization.”50
12          94.    When employees accessed Mr. Shapiro’s account, his CPNI was
13   visible. On information and belief, this includes, but was not limited to,
14   information about the configuration, type, and use of his subscribed AT&T
15   services, his personal information, his SIM card details, and his billing
16   information. AT&T employees then used this information to effectuate an
17   unauthorized SIM swap.
18          95.    This type of unauthorized use of Mr. Shapiro’s CPNI is illegal under
19   the FCA. The FCA forbids AT&T from “us[ing], disclos[ing], or permit[ting]
20   access to” CPNI, except in limited circumstances.51 As AT&T admitted in its May
21   2019 letter, this extends to the carrier’s own employees.
22
23
     Customer Proprietary Network Information and Other Customer Information, 22 F.C.C. Rcd.
24   6927 ¶ 1 (April 2, 2007) (hereafter, “2007 CPNI Order”).
     46
        47 U.S.C. §§ 206, 207.
25   47
        Declaratory Ruling, In the Matter of Implementation of the Telecommunications Act of 1996:
     Telecommunications Carriers’ Use of Customer Proprietary Network Information & Other
26
     Customer Information, 28 F.C.C. Rcd. 9609 ¶ 30 (2013) (hereafter, “2013 CPNI Order”).
     49
27      See. Exs. E & F.
     50
        Id.
28   51
        47 U.S.C. § 222(c)(1).

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                              AMENDED CIVIL COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 33 Filed 05/29/20 Page 25 of 59 Page ID #:463




1           96.    AT&T may only use, disclose, or permit access to Mr. Shapiro’s
2    CPNI: (1) as required by law; (2) with his approval; or (3) in its provision of the
3    telecommunications service from which such information is derived, or services
4    necessary to or used in the provision of such telecommunications service.52
5    Beyond such use, “the Commission’s rules require carriers to obtain a customer’s
6    knowing consent before using or disclosing CPNI.”53
7           97.    AT&T failed to protect Mr. Shapiro from authorized use of his CPNI.
8    AT&T permitted its employees to use and/or disclose Mr. Shapiro’s CPNI without
9    obtaining Mr. Shapiro’s knowing consent beforehand. AT&T employees, acting
10   within the scope of their employment, likewise did not seek Mr. Shapiro’s knowing
11   consent before using, disclosing, and/or permitting access to his CPNI when they
12   accessed his account and swapped his SIM card. Because such conduct does not
13   fit within the FCA’s recognized legitimate uses, it constitutes a violation of the
14   FCA.
15          98.    Pursuant to the FCA, the FCC has developed comprehensive rules
16   concerning AT&T’s obligations under its duty to protect customers’ CPNI.54 This
17   includes rules “designed to ensure that telecommunications carriers establish
18   effective safeguards to protect against unauthorized use or disclosure of CPNI.”55
19   The FCC specifically recognizes that “[a]bsent carriers’ adoption of adequate
20   security safeguards, consumers’ sensitive information . . . can be disclosed to third
21   parties without consumers’ knowledge or consent.”56 In a 2013 order, the FCC
22   “clarif[ied] existing law so that consumers will know that their carriers must
23
24   52
        47 U.S.C. § 222.
     53
        2007 CPNI Order ¶ 8 (emphasis added).
25   54
        See 47 CFR § 64.2001(“The purpose of the rules in this subpart is to implement section 222 of
     the Communications Act of 1934, as amended, 47 U.S.C. 222.”). The FCC also regularly
26
     releases CPNI orders that promulgate rules implementing its express statutory obligations. See
27   2007 CPNI Order and 2013 CPNI Order.
     55
        2007 CPNI Order ¶ 9; see also Id. at ¶ 35; 47 U.S.C. § 222(c); 47 C.F.R. § 64.2009.
28   56
        Id.

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                               AMENDED CIVIL COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 33 Filed 05/29/20 Page 26 of 59 Page ID #:464




1    safeguard these kinds of information so long as the information is collected by or
2    at the direction of the carrier and the carrier or its designee57 has access to or
3    control over the information.”58
4           99.     Pursuant to these rules, AT&T must “implement a system by which
5    the status of a customer’s CPNI approval can be clearly established prior to the use
6    of CPNI.”59 AT&T is also required to “design their customer service records in
7    such a way that the status of a customer’s CPNI approval can be clearly
8    established.”60 The FCC’s rules also “require carriers to maintain records that track
9    access to customer CPNI records.”61
10          100. Upon information and belief, AT&T has failed to implement such a
11   system. The fact that Mr. Shapiro’s account was accessed without his authorization
12   on at least four separate occasions demonstrates AT&T’s failures in this regard.
13          101. AT&T’s failures are particularly egregious because Mr. Shapiro
14   contacted AT&T following each SIM swap attack and provided specific
15   instructions that employees were not to access his CPNI without his express, prior
16   approval, as established through the use of passcodes. Mr. Shapiro was told that
17   specific warnings would be placed on his account to this affect. These instructions
18   and warnings were ineffective, as shown by the repeated breaches of Mr. Shapiro’s
19   account.
20          102. AT&T is also required to “train their personnel as to when they are
21   and are not authorized to use CPNI, and carriers must have an express disciplinary
22   process in place.”62
23
24
     57
        In the ruling, “designee” is defined as “an entity to which the carrier has transmitted, or
25   directed the transmission of, CPNI or is the carrier’s agent.” Id. n. 1.
     58
        Id. at ¶ 1 (emphasis added).
26   59
        2007 CPNI Order ¶¶ 8-9 (emphasis added); see also 47 C.F.R. § 64.2009(a).
     60
27      Id. ¶ 9.
     61
        Id.
28   62
        47 C.F.R. § 64.2009(b).

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                                AMENDED CIVIL COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 33 Filed 05/29/20 Page 27 of 59 Page ID #:465




1          103. Upon information and belief, AT&T has failed to properly train and
2    supervise their personnel, as reflected by AT&T personnel’s involvement in Mr.
3    Shapiro’s breaches.
4          104.    Carriers must “maintain a record of all instances where CPNI was
5    disclosed or provided to third parties, or where third parties were allowed access to
6    CPNI.”63
7          105. Upon information and belief, AT&T has failed to maintain such a
8    record, as demonstrated by its repeated failure to protect Mr. Shapiro after his
9    CPNI was provided to third-parties.
10         106. AT&T has also breached its duty to safeguard Mr. Shapiro’s CPNI
11   from data breaches, in violation of Section 222(a) and Section 201(b) of the FCA.
12         107. The FCC has “[made] clear that carriers’ existing statutory obligations
13   to protect their customers’ CPNI include[s] a requirement that carriers take
14   reasonable steps, which may include encryption, to protect their CPNI databases
15   from hackers and other unauthorized attempts by third parties to access CPNI.”64
16         108. AT&T failed to take reasonable steps to protect Mr. Shapiro’s CPNI,
17   thereby allowing third-party hackers to access his CPNI on at least four occasions.
18         109. The FCC also requires that carriers inform customers – and law
19   enforcement – “whenever a security breach results in that customer’s CPNI being
20   disclosed to a third party without that customer’s authorization.”65 This
21   requirement extends to any unauthorized disclosure.
22         110. In adopting this requirement, the FCC rejected the argument that it
23   “need not impose new rules about notice to customers of unauthorized disclosure
24   because competitive market conditions will protect CPNI from unauthorized
25   disclosure.”66
26
     63
27      Id.; see also 47 C.F.R. § 64.2009(c).
     64
        2007 CPNI Order ¶ 36 (citation omitted).
28   65
        2007 CPNI Order ¶ 26; see also 47 C.F.R § 64.2011(c).
     66
        2007 CPNI Order ¶ 30.
                                               26
                                 AMENDED CIVIL COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 33 Filed 05/29/20 Page 28 of 59 Page ID #:466




1           111. Instead, the FCC found that “[i]f customers and law enforcement
2    agencies are unaware of [unauthorized access], unauthorized releases of CPNI will
3    have little impact on carriers’ behavior, and thus provide little incentive for carriers
4    to prevent further unauthorized releases. By mandating the notification process
5    adopted here, we better empower consumers to make informed decisions about
6    service providers and assist law enforcement with its investigations. This notice
7    will also empower carriers and consumers to take whatever ‘next steps’ are
8    appropriate in light of the customer’s particular situation.”67 The FCC specifically
9    recognized that this notice could allow consumers to take precautions or protect
10   themselves “to avoid stalking or domestic violence.”68
11          112. AT&T failed in its duty to safeguard Mr. Shapiro’s CPNI from
12   breaches and, upon information and belief, has failed to properly inform him of
13   such breaches when they occurred. Mr. Shapiro only received any documentation
14   alerting him that his CPNI had been breached after the third hack; he received no
15   such notice following the first two SIM swap attacks. Additionally, he only
16   received documentation for three out of four total attacks.
17          113. Under the FCA, AT&T is not just liable for its own violations of the
18   Act, but also for violations that it “cause[s] or permit[s].”69 By failing to secure
19   Mr. Shapiro’s account and protect his CPNI, AT&T caused and/or permitted Mr.
20   Shapiro’s CPNI to be accessed and used by its own employees and by third-party
21   hackers.
22
23
24
     67
25      Id.
     68
        Id. at n.100.
26   69
        See 47 U.S.C.A. § 206 (establishing that “[i]n case any common carrier shall do, or cause or
     permit to be done, any act, matter, or thing in this chapter prohibited or declared to be unlawful,
27
     or shall omit to do any act, matter, or thing in this chapter required to be done such common
28   carrier shall be liable to the person or persons injured thereby for the full amount of damages
     sustained in consequence of any such violation of the provisions of this chapter[.]”)
                                                   27
                                  AMENDED CIVIL COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 33 Filed 05/29/20 Page 29 of 59 Page ID #:467




1             114. AT&T is also responsible for the acts, omissions, and/or failures of
2    officers, agents, employees, or any other person acting for or employed by AT&T,
3    including employees Jack and White.
4             D.     Mr. Shapiro’s Harm was Caused by AT&T’s Negligence.
5             115. By failing to secure Mr. Shapiro’s account—and protect the
6    confidential and sensitive data contained therein—and to properly hire, train, and
7    supervise their employees, AT&T is responsible for the foreseeable harm Mr.
8    Shapiro suffered as a result of AT&T’s negligence.
9             116. Further, AT&T is responsible for its employees’ participation in the
10   conspiracy to rob Mr. Shapiro, as such actions were within the scope of their
11   employment with AT&T. On information and belief, AT&T employees were
12   tasked with and able to change customers’ SIM cards.
13            117. Additionally, AT&T employees’ breach of Mr. Shapiro’s account and
14   the subsequent SIM swaps were foreseeable. AT&T knew or should have known
15   that Mr. Shapiro’s account was at risk, but nonetheless failed to secure his account
16   and failed to properly supervise and train its employees.
17            118. AT&T has known for more than a decade that third parties frequently
18   attempt to access wireless customers’ accounts for fraudulent purposes. In 2007,
19   the FCC issued an order strengthening its CPNI rules in response to the growing
20   practice of “pretexting.”70 Pretexting is “the practice of pretending to be a
21   particular customer or other authorized person in order to obtain access to that
22   customer’s call detail or other private communication records.”71 This 2007 Order
23   put AT&T on notice that its customers’ accounts were vulnerable targets of the
24   third-parties seeking unauthorized access.
25            119. AT&T also knew, or should have known, about the risk SIM swap
26   crimes presented to its customers. SIM swap crimes have been a widespread and
27
28   70
          2007 CPNI Order.
     71
          Id. ¶ 1.
                                        28
                              AMENDED CIVIL COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 33 Filed 05/29/20 Page 30 of 59 Page ID #:468




1    growing problem for years. The U.S. Fair Trade Commission (“FTC”) reported in
2    2016 that there were 1,038 reported SIM swap attacks per month in January 2013,
3    which increased sharply to 2,658 per month by January 2016—2.5 times as
4    many.72 The FTC reported that SIM swaps represented 6.3% of all identity thefts
5    reported to the agency in January 2016, and that such thefts “involved all four of
6    the major mobile carriers” – including AT&T.73
7           120. AT&T knew or should have known that it needed to take steps to
8    protect its customers. The FTC’s 2017 Report stated that “mobile carriers are in a
9    better position than their customers to prevent identity theft through mobile
10   account hijacking[.]”74 The FTC urged carriers such as AT&T to “adopt a multi-
11   level approach to authenticating both existing and new customers and require their
12   own employees as well as third-party retailers to use it for all transactions.”75 The
13   FTC also specifically warned carriers, including AT&T, of the risk that, due to text
14   message password reset requests and two-factor authentication, SIM swapping put
15   subscribers at risk of financial loss and privacy violations:
16                 Having a mobile phone account hijacked can waste hours
17                 of a victim’s time and cause them to miss important calls
                   and messages. However, this crime is particularly
18                 problematic due to the growing use of text messages to
19                 mobile phones as part of authentication schemes for
                   financial services and other accounts. The security of two-
20                 factor authentication schemes that use phones as one of the
21                 factors relies on the assumption that someone who steals
                   your password has not also stolen your phone number.
22                 Thus, mobile carriers and third-party retailers need to be
23                 vigilant in their authentication practices to avoid putting

24
     72
        Lori Cranor, FTC Chief Technologist, “Your mobile phone account could be hijacked by an
25   identity thief,” Federal Trade Commission (June 7, 2016), https://www.ftc.gov/news-
     events/blogs/techftc/2016/06/your-mobile-phone-account-could-be-hijacked-identity-thief
26
     (hereafter, “2017 FTC Report”).
     73
27      Id.
     74
        Id. (emphasis added).
28   75
        Id.

                                        29
                              AMENDED CIVIL COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 33 Filed 05/29/20 Page 31 of 59 Page ID #:469




1                 their customers at risk of major financial loss and having
                  email, social network, and other accounts compromised.76
2
           121. AT&T admitted it was aware of SIM swap crimes and the effect they
3
     could have on its customers in September 2017 when AT&T’s Vice President of
4
     Security Platforms published an article on AT&T’s “Cyber Aware” blog about SIM
5
     swaps.77 In the article, AT&T acknowledged that subscribers with “valuable
6
     accounts that are accessible online” are likely targets of SIM swaps. AT&T
7
     recommended that its customers set up passcodes that would provide “extra
8
     security.” These passcodes repeatedly failed to protect Mr. Shapiro.
9
           122. AT&T therefore knew that its customers’ accounts were at risk at least
10
     8 months before any breaches of Mr. Shapiro’s account. At the time of his first
11
     attack in May 2016, Mr. Shapiro informed AT&T—both on the phone and in
12
     person—that he had valuable online accounts, thereby making him the type of
13
     individual that AT&T recognized was specifically vulnerable to SIM swap attacks.
14
     Nonetheless, AT&T failed to take reasonable steps to protect his account.
15
           123. AT&T’s inadequate security procedures are particularly egregious in
16
     light of AT&T’s repeated public statements about the importance of cyber security
17
     and its public representations about its expertise in this area. AT&T has an entire
18
     series on its public YouTube channel (“AT&T ThreatTraq”) dedicated to discussing
19
     and analyzing emerging cybersecurity threats.78 In its videos, AT&T describes
20
     itself as a “network that senses and mitigates cyber threats.”79
21
           124. AT&T recognizes the risks that arise when a cell phone is
22
     compromised, stating, “Our phones are mini-computers, and with so much
23
     personal data on our phones today, it’s also important to secure our mobile
24
25
     76
        Id. (emphasis added).
26   77
        Brian Rexroad, “Secure Your Number to Reduce SIM Swap Scams,” AT&T’s Cyber Aware
27   (Sep. 2017), https://about.att.com/pages/cyberaware/ni/blog/sim_swap.
     78
        “AT&T Tech Channel,” YouTube, https://www.youtube.com/user/ATTTechChannel.
28   79
        “AT&T – Protect Your Network with the Power of &,” VIMEO, https://vimeo.com/172399153.

                                       30
                             AMENDED CIVIL COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 33 Filed 05/29/20 Page 32 of 59 Page ID #:470




1    devices.”80 AT&T’s advertisements also stress how central a role cell phones play
2    in its customer’s lives, stating: “My phone is my life” and “My phone is
3    everything.” The same ad stresses how the inability to use a cell phone makes
4    people feel “completely untethered, flailing around.”81
5          125.    AT&T markets its ability to identify to and neutralize emerging cyber
6    threats for its customers. In one video, AT&T employees discuss “threat hunting”
7    which they describe as “an active threat analysis where you’re actually thinking
8    about your adversary.”82 They claim that it’s “important” and “something [AT&T
9    has] been doing for a long time.”83 They advise that companies should think about
10   “what would a hacker want to do, where would a hacker go to get my data, what
11   are some of the points on my network that are most vulnerable, or where is the data
12   flow that is potentially going to be a leakage” and state that “having threat hunting
13   as part of a proactive continuous program, integrating with existing security
14   measures, will help [you] stay ahead of the threats.”84
15         126. Not only did AT&T advise staying ahead of and addressing cyber
16   threats, it also stressed that these practices could even help identify “insider
17   threats”—employees within the company.
18         127. In an additional video focused on insider threats, AT&T employees go
19   on at length about the threat of company insiders selling corporate information and
20   access, citing a survey showing that “30% [of respondents] had purposefully sent
21   data outside of their organization at some point in time” and “14% of the people
22   that were interviewed said they would actually sell their corporate log-ins to folks
23
24
     80
        AT&T, “Mobile Security,” YOUTUBE (Feb. 12, 2019),
25   https://www.youtube.com/watch?v=KSPHS89VnX0.
     81
        “AT&T Mobile Movement Campaign – Ads,” VIMEO, https://vimeo.com/224936108.
26   82
        AT&T Tech Channel, “The Huntin’ and Phishin’ Episode,” YOUTUBE (Apr. 21, 2017),
27   https://www.youtube.com/watch?v=3g9cPCiFosk.
     83
        Id.
28   84
        Id.

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                             AMENDED CIVIL COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 33 Filed 05/29/20 Page 33 of 59 Page ID #:471




1    on the outside or sell that data for less than about $250 US.”85 They cited as a
2    “significant concern” the “individuals that have privileged access, that have broad
3    access inside an organization.”86 AT&T therefore knew or should have known that
4    there was a significant risk that its own employees would sell AT&T data—
5    including customer account data—and that the risk was heightened when
6    employees had too broad of an access to corporate systems, yet AT&T failed to put
7    sufficient systems and resources in place to mitigate that risk, despite its own
8    advice to the contrary.
9          128. AT&T has also recognized the danger presented to its customers when
10   their email addresses are hacked, as Mr. Shapiro’s was on multiple occasions as a
11   result of AT&T’s failures. As one AT&T employee puts it: “I think most people do
12   have something valuable [in their email accounts], which is access to all their other
13   accounts, which you can get with a password reset.”87 They call this “something
14   worth keeping safe.”88 They advised that a “strong, obviously, security awareness
15   program within a company . . . is extremely important.”89
16         129. In this video series, AT&T makes specific mentions of SIM swapping
17   activity. In one video, AT&T’s Vice President of Security Platforms (Brian
18   Rexroad) and Principal of Technology Security (Matt Keyser) discuss the hack of a
19   forum called OGusers. 90 In the segment, they discuss the hacking of social media
20   users’ account names and point to a news story that highlights—in distinct orange
21
22
23
24
     85
        AT&T ThreatTraq, “The Real Threat of Insider Threats,” YouTube (May 5, 2017),
25   https://www.youtube.com/watch?v=ZM5tuNiVsjs (emphasis added).
     86
        Id.
26   87
        Id.
     88
27      Id.
     89
        Id.
28   90
        AT&T ThreatTraq, “5/31/19 Account-hacking Forum OGusers Hacked,” YOUTUBE (May 31
     2019), https://www.youtube.com/watch?time_continue=234&v=cS4xV3cej3A.
                                             32
                              AMENDED CIVIL COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 33 Filed 05/29/20 Page 34 of 59 Page ID #:472




1    type—that OGusers is a forum popular among people “conducting SIM swapping
2    attacks to seize control over victims’ phone numbers.”91
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14
15                                             Figure 2

16          130. AT&T was therefore well aware of the significant risk that AT&T

17   employees and SIM swapping presented to its customers, and the need to mitigate

18   such risks, but nonetheless failed to take adequate steps to protect Mr. Shapiro.

19   Instead, it continued to make public statements giving rise to a reasonable

20   expectation that AT&T could—and would—protect its customers.

21          131. Additionally, Mr. Shapiro’s hack was foreseeable because at least two

22   of the AT&T employees involved—Jack and White—were involved in a

23   suspiciously high number of unauthorized SIM swaps the very same month of Mr.

24   Shapiro’s first and second hacks. White conducted 29 unauthorized SIM swaps in

25   May 2018, while Jack conducted 12 unauthorized swaps that same month. This

26
27   91
       Id.; see also Freeman Indictment at ¶ 2 (Describing how “discussions—such as discussing the
28   manner and means to [SIM swap] attacks generally, and networking among [SIM swap
     hackers]—typically took place on forums such as “OGusers.”).
                                                33
                               AMENDED CIVIL COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 33 Filed 05/29/20 Page 35 of 59 Page ID #:473




1    suspicious activity should have raised alarms at AT&T, but the company
2    nonetheless failed to protect Mr. Shapiro from these employees.
3           132. The risk to Mr. Shapiro’s account, specifically, was particularly
4    foreseeable after the very first breach on May 16, 2018. Despite confirming that a
5    breach had occurred, AT&T employees refused to help Mr. Shapiro when his
6    account was again breached and his SIM card swapped just a few minutes after he
7    restored control over his account on May 16. Instead, AT&T did nothing while its
8    employees aided hackers in their more than $1.9 million theft from Mr. Shapiro.
9           133. Even after two documented account breaches and unauthorized SIM
10   swaps in May, AT&T failed to protect Mr. Shapiro’s account on two additional
11   occasions in November 2018 and May 2019.
12          134. That Mr. Shapiro was at risk of account breaches at the hands of
13   AT&T employees is particularly foreseeable—and AT&T’s failures are particularly
14   stark—in light of AT&T’s history of unauthorized employee access to customer
15   accounts.
16          135. In 2015, AT&T faced an FCC enforcement action, and paid a $25
17   million civil penalty, for nearly identical failures to protect its customers’ sensitive
18   account data.92 In that case, as AT&T admitted, employees at an AT&T call center
19   breached 280,000 customers’ accounts.93 Specifically, AT&T employees had
20   improperly used login credentials to access customer accounts and access customer
21   information that could be used to unlock the customers’ devices.94 The employees
22   then sold the information they obtained from the breaches to a third party.95
23          136. The FCC concluded that AT&T’s “failure to reasonably secure
24   customers’ proprietary information violates a carrier’s statutory duty under the
25
26   92
        In the Matter of AT&T Servs., Inc., 30 F.C.C. Rcd. 2808 (2015).
     93
27      Id. ¶ 1.
     94
        Id. ¶¶ 7, 11.
28   95
        Id. ¶ 1.

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                               AMENDED CIVIL COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 33 Filed 05/29/20 Page 36 of 59 Page ID #:474




1    Communications Act to protect that information, and also constitutes an unjust and
2    unreasonable practice in violation of the Act.”96
3            137. The FCC stressed that the FCA is intended to “ensure that consumers
4    can trust that carriers have taken appropriate steps to ensure that unauthorized
5    persons are not accessing, viewing or misusing their personal information.”97 It
6    stressed its expectation that “telecommunications carriers such as AT&T . . . take
7    ‘every reasonable precaution’ to protect their customers’ data[.]”98
8            138. As part of its penalty, AT&T entered into a stipulated Consent Decree
9    with the FCC, in which AT&T agreed to develop and implement a compliance plan
10   to ensure appropriate safeguards to protect consumers against similar breaches by
11   improving its privacy and data security practices.99
12           139. This FCC enforcement action underscores AT&T’s knowledge of the
13   risk its employees presented to customers, the prevalence of employee breaches to
14   customer data, the sensitive nature of customer CPNI, and its duties to protect and
15   safeguard that data.
16           140. Nonetheless, more than 3 years after stipulating to the Consent
17   Decree, AT&T still failed to protect its customer from employee breaches of
18   customer CPNI and other account data, virtually identical to the breaches at issue
19   here, heightening the degree of its negligence.
20           141. Mr. Shapiro, unlike AT&T, was not in a position to adequately protect
21   himself from the harms arising from the SIM swap attacks. AT&T, Mr. Shapiro’s
22   wireless provider, was responsible for safeguarding his account and its
23   involvement was required for any change in SIM to be effective. Because SIM
24   change requests were all routed through AT&T, and not through Mr. Shapiro
25   directly, AT&T alone was positioned to prevent unauthorized SIM changes. It is
26
     96
27      Id. ¶ 2.
     97
        Id.
28   98
        Id.
     99
        Id. ¶¶ 2, 17-18, 21.
                                         35
                               AMENDED CIVIL COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 33 Filed 05/29/20 Page 37 of 59 Page ID #:475




1    unreasonable to expect Mr. Shapiro to be able to fully protect his account when
2    AT&T, the responsible entity, failed to do so.
3            142. Additionally, Mr. Shapiro took all of the steps that AT&T advised he
4    take in order to protect his account—including purchasing a new SIM card and
5    mobile phone and changing his account passcode—and was repeatedly told by
6    AT&T that such steps would protect his account from further breaches and SIM
7    swaps. Mr. Shapiro reasonably relied on these representations.
8                  i. AT&T is Liable for the Acts of its Employees.
9            143. AT&T is liable for the acts of its employees, including Jack and
10   White, who facilitated the unauthorized access to, and resulting theft from, Mr.
11   Shapiro.
12           144. AT&T failed to put in place adequate systems and procedures to
13   prevent the unauthorized employee access to and sale of Mr. Shapiro’s account and
14   related data. AT&T failed to properly hire and supervise its employees, allowing
15   them to access Mr. Shapiro’s sensitive and confidential account data, and sell
16   access to his account and that data to third parties.
17           145. In the context of AT&T’s enterprise as a telecommunications carrier,
18   an employee accessing a customer’s account information and effectuating a SIM
19   swap—even without authorization—is not so unusual or startling that it would not
20   be unfair to include the loss resulting from such unauthorized access among other
21   costs of AT&T’s business – particularly in light of AT&T’s awareness of the risk of
22   SIM swaps to its customers.
23           146. Further, imposing liability on AT&T may prevent recurrence of SIM
24   swap behavior because it creates a strong incentive for vigilance and proper
25   safeguarding of customers’ data by AT&T—which is the sole party in the position
26   to guard substantially against this activity, as it is the custodian and guardian of this
27   data.
28

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                             AMENDED CIVIL COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 33 Filed 05/29/20 Page 38 of 59 Page ID #:476




1             147. As a customer of AT&T, Mr. Shapiro is entitled to rely upon the
2    presumption that AT&T and the agents entrusted with the performance of AT&T’s
3    business have faithfully and honestly discharged the duty owed to him by AT&T,
4    and that they would not knowingly gain unauthorized access to his account in order
5    to aid in perpetuating a theft from him.
6             148. The reasonableness of Mr. Shapiro’s expectations that AT&T would
7    safeguard his data is confirmed by the fact that the federal agency responsible for
8    overseeing AT&T’s duties to its customers, the FCC, has stated that it “fully
9    expect[s] carriers to take every reasonable precaution to protect the confidentiality
10   of proprietary or personal customer information.”100
11   V.        AT&T’s Misrepresentations and Omissions.
12            149. AT&T’s Privacy Policy, and the “Privacy Commitments” included
13   therein, falsely represents and fails to disclose material information about its data
14   security practices.
15            150. Mr. Shapiro relied on AT&T’s Privacy Policy and related
16   commitments when he chose to open his account with AT&T in approximately
17   2006.
18            151. Privacy was important to Mr. Shapiro. Prior to opening his AT&T
19   account, Mr. Shapiro was employed as the Director of Interactive Production for
20   DIRECTV, a direct broadcast satellite service provider later acquired by AT&T. In
21   that role, Mr. Shapiro was directly involved in analyzing privacy policies and
22   consumer data protections for DIRECTV and other technology and media
23   corporations involved in doing business with DIRECTV, including Microsoft,
24   TiVo, and others.
25            152. On information and belief, AT&T’s 2006 Privacy Policy was the
26   operative policy at the time Mr. Shapiro opened his AT&T account or was
27   substantially similar to the operative policy upon which he relied at that time. In its
28
     100
           2007 CPNI Order ¶ 64.
                                             37
                                   AMENDED CIVIL COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 33 Filed 05/29/20 Page 39 of 59 Page ID #:477




1    2006 Privacy Policy, AT&T promised to protect Mr. Shapiro’s privacy and personal
2    information, including by using security safeguards. AT&T further pledges that it
3    will not sell customer data.
4          153. These representations created an expectation that Mr. Shapiro’s AT&T
5    account and associated data would be safe and secure, that employees would not
6    access his account without authorization or sell access to his account, that his data
7    would be protected from unauthorized disclosure, and that he could control how
8    and when his data was accessed. Figure 3, immediately below, is an excerpt from
9    AT&T’s Privacy Policy.
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27                                         Figure 3
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                                      38
                            AMENDED CIVIL COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 33 Filed 05/29/20 Page 40 of 59 Page ID #:478




1           154. AT&T’s representation that it uses encryption methods and other
2    security measures and safeguards to protect customer data is false and misleading.
3           155. As alleged fully above, AT&T allowed its employees to access Mr.
4    Shapiro’s account, and the CPNI and other sensitive data contained therein,
5    without his authorization. AT&T’s statement that it would use encryption and
6    other security measures to protect customers’ data and “protect against
7    unauthorized access to . . . data, including personal identifying information” is
8    therefore a material misrepresentation.
9           156. Upon information and belief, AT&T’s security safeguards were
10   inadequate, including its system which—upon information and belief—allowed an
11   individual employee to conduct SIM swaps without adequate oversight, even when
12   that employee conducted a large number of unauthorized SIM swaps in a short
13   period of time (as demonstrated in the cases of White and Jack). This is despite
14   AT&T’s promise to “limit access to personal identifying information to those
15   employees . . . who need access to such information to operate, develop, or
16   improve [AT&T’s] services and products.”
17          157. “Having one employee who can conduct these SIM swaps without any
18   kind of oversight seems to be the real problem,” says Lieutenant John Rose, a
19   member of the California-based Regional Enforcement Allied Computer Team
20   (“REACT”), a multi-jurisdictional law enforcement partnership specializing in
21   cybercrime.102 “And it seems like [the carriers] could really put a stop to it if there
22   were more checks and balances to prevent that. It’s still very, very easy to SIM
23   swap, and something has to be done because it’s just too simple. Someone needs to
24   light a fire under some folks to get these protections put in place.”103
25
26
     102
27       “Busting SIM Swappers and SIM Swap Myths,” KREBSONSECURITY (Nov. 18, 2018),
     https://krebsonsecurity.com/2018/11/busting-sim-swappers-and-sim-swap-myths.
28   103
         A REACT investigative report, (attached hereto as Exhibit I), describes how certain SIM
     swap attacks occurred, and includes statements from victims, including Mr. Shapiro, at p. 11-12.
                                               39
                               AMENDED CIVIL COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 33 Filed 05/29/20 Page 41 of 59 Page ID #:479




1           158. AT&T failed to put in place adequate systems and procedures to
2    prevent the unauthorized employee access to and sale of Mr. Shapiro’s account and
3    related data. In connection with subsequent criminal investigations into Mr.
4    Shapiro’s SIM swaps, AT&T informed law enforcement that it had the capacity to
5    see how many different SIM cards had been associated with the same single cell
6    phone’s IMEI. In other words, AT&T could see when one cell phone had multiple
7    SIM cards associated with it in a short amount of time.104
8           159. AT&T also informed law enforcement that the hacker involved in Mr.
9    Shapiro’s SIM swap had requested that 40 different AT&T wireless accounts be
10   moved onto his phone (identified by its IMEI number) in the months leading up to
11   Mr. Shapiro’s swap.105 AT&T therefore had the technology to track how many
12   different accounts were being much on to the same telephone, as demonstrated by
13   its ability to pull this information for law enforcement. Despite its ability to track
14   this highly suspicious behavior, AT&T failed to use this technology to protect Mr.
15   Shapiro’s account. If AT&T had proper security safeguards in place, it would have
16   recognized this behavior, flagged it as suspicious, and prevented any further SIM
17   swaps onto that phone – thereby protecting Mr. Shapiro.
18          160. AT&T provided information to law enforcement about how AT&T
19   SIM swap victims’ AT&T accounts were used while under the control of hackers.
20   This information clearly showed that hackers were using the AT&T wireless
21   accounts to attempt to access other personal accounts. AT&T informed law
22   enforcement that, “During the time the [hacker] controlled several of the [SIM
23   swap] victims’ cell telephones, all telephones received multiple text messages
24   while no text messages were sent.”106 This was suspicious because it indicated that
25   hackers were receiving password-reset or two-factor authentication text messages
26
     104
27       See Probation Report, California v. Joel Ortiz, No. C-189481 (CA Sup. Ct. Mar. 14, 2019) at
     p. 7 (attached hereto as Exhibit H.)
28   105
         Id. at 7.
     106
         Id.
                                                40
                                AMENDED CIVIL COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 33 Filed 05/29/20 Page 42 of 59 Page ID #:480




1    in an attempt to access victims’ other online accounts, rather than using the AT&T
2    accounts for normal, legitimate purposes. As described by law enforcement:
3                  Based on the volume of text messages the [hacker]
4                  received, the short time he controlled the [AT&T user]
                   victims’ accounts, as well as the majority of text
5                  messages originating from short code numbers,107 [law
6                  enforcement] officers deduced [that] once [the hacker’
                   gained control of a victim’s cell phone account, the
7                  [hacker] attempted to log into their other accounts.
8                  Police believed the defendant was able to do this either
                   by receiving a 2FA [two-factor authentication] text
9                  message from individual websites sent via text message
10                 to the AT&T account controlled by the [hacker], or the
                   specific website text a code allowing the [hacker] to reset
11                 the passwords on-line.108
12
            161. Therefore, AT&T had the capability to see this behavior and should
13
     have flagged it as suspicious. If AT&T had proper security safeguards in place, it
14
     would have recognized this behavior, flagged it as suspicious, and prevented any
15
     further SIM swaps onto that phone – thereby protecting Mr. Shapiro.
16
            162. Additionally, as alleged fully above, AT&T failed to establish a
17
     consent mechanism that verified proper authorization before Mr. Shapiro’s data
18
     was accessed and provided to third parties. AT&T’s statement that it would use
19
     encryption and other security safeguards to protect customers’ data is therefore a
20
     material misrepresentation.
21
            163. AT&T’s representation that it will “protect the privacy of [its]
22
     customers and safeguard the privacy of [their] personal identifying information” is
23
     false and misleading.
24
            164. If Mr. Shapiro had known before contracting with AT&T in
25
     approximately 2006 that AT&T’s Privacy Policy was false and misleading and that
26
     107
27       As described by law enforcement, a “short code number” is “a phone number used strictly to
     send text message and cannot receive voice calls.” Short code numbers are used by businesses to
28   send users password-reset links or passcodes.
     108
         Ex. H at 9.
                                               41
                               AMENDED CIVIL COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 33 Filed 05/29/20 Page 43 of 59 Page ID #:481




1    it would not secure his CPNI, then Mr. Shapiro would have behaved differently—
2    including, but not limited to, taking additional security measures and precautions
3    such as not linking applications to his AT&T mobile phone, storing his email
4    accounts on a separate digital device, or considering another mobile carrier.
5           165. As alleged fully above, AT&T failed to establish a consent
6    mechanism that verified proper authorization before Mr. Shapiro’s account and the
7    data therein was used without his authorization or consent and disclosed to third
8    parties. Mr. Shapiro’s privacy and personal information was not safe, as
9    demonstrated by the repeated breaches of his AT&T account. AT&T’s statement
10   that it would protect customers’ privacy and keep their personal information safe is
11   therefore a material misrepresentation.
12          166. AT&T’s representation that it will not sell customers’ personal
13   information or CPNI is false and misleading.
14          167. As alleged fully above, AT&T employees sold access to Mr. Shapiro’s
15   AT&T account to third parties. AT&T’s statement that it would not sell customers’
16   personal information is therefore a material misrepresentation.
17          168. AT&T also makes numerous false or misleading representations
18   concerning its treatment of customers’ data that qualifies as CPNI under the FCA.
19          169. AT&T explicitly and falsely represents in its Privacy Policy that it
20   does not “sell, trade or share” customers’ CPNI:
21                 We do not sell, trade or share your CPNI – including your
22                 calling recods - with anyone outside of the AT&T family
                   of companies or with anyone not authorized to represent
23                 us to offer our products or services, or to perform functions
24                 on our behalf except as may be required by law or
                   authorized by you.109
25
26
     109
27       2006 Privacy Policy. “In this policy, the AT&T family of companies means AT&T Inc. and
     its subsidiary and affiliated entities.” “Customer Proprietary Network Information (CPNI),” Ex.
28   A. On information and belief, AT&T included similar protections in all subsequent privacy
     policies during the duration of Mr. Shapiro’s account.
                                                   42
                                 AMENDED CIVIL COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 33 Filed 05/29/20 Page 44 of 59 Page ID #:482




1                170. As alleged fully above, AT&T provided access to Mr. Shapiro’s CPNI
2    to third-party hackers. This use was not required by law and was instead
3    prohibited by law.
4                171. AT&T also states that it only uses CPNI internally and its only
5    disclosed use of CPNI is among the AT&T companies and its agents in order to
6    offer its products or services.110
7                172. AT&T employees’ sale of access to Mr. Shapiro’s account and related
8    data as described herein was not for internal AT&T purposes, nor was it used to
9    market AT&T services. AT&T’s statements regarding the sale and/or use of
10   customer CPNI are therefore material misrepresentations. Its failure to disclose
11   this sale of access to CPNI is a material omission.
12               173. AT&T also falsely represents that it “implement[s] technology and
13   security features, and strict policy guidelines to safeguard the privacy of
14   [customers’] personal identifying information,” and that it “will continue to
15   enhance security procedures as new technology becomes available.”
16               174. As alleged fully above, AT&T and its agents failed to safeguard Mr.
17   Shapiro’s CPNI. Instead, it stored customer CPNI in such a way that unauthorized
18   access was easily obtained by employees and third parties. AT&T’s statements
19   regarding the technology and security features it uses to safeguard customer CPNI
20   are therefore material misrepresentations.
21               175. After each breach of his account and unauthorized SIM swap, AT&T
22   repeatedly, and falsely, represented to Mr. Shapiro that his account was safe from
23   future breaches. In reliance upon these statements, Mr. Shapiro maintained his
24   AT&T account. AT&T also repeatedly told Mr. Shapiro that the notations made on
25   his account and the passcode needed to change his SIM card would protect him
26   from future breaches and SIM swaps. These misrepresentations were false and
27
28
     110
           Id.
                                           43
                                 AMENDED CIVIL COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 33 Filed 05/29/20 Page 45 of 59 Page ID #:483




1    materially misleading, as demonstrated by the ongoing breaches to Mr. Shapiro’s
2    account.
3            176. AT&T was obligated to disclose the weaknesses and failures of its
4    account and data security practices, as AT&T had exclusive knowledge of material
5    facts not known or knowable to its customers, AT&T actively concealed these
6    material facts from Mr. Shapiro, and such disclosures were necessary to materially
7    qualify its representations that it did not sell and took measures to protect
8    consumer data and to materially qualify its partial disclosures concerning its use of
9    customers’ CPNI. Further, AT&T was obligated to disclose its practices under the
10   FCA.
11           177. A reasonable person would be deceived and misled by AT&T’s
12   misrepresentations, which clearly indicated that AT&T would not sell, and would
13   in fact safeguard, its customers’ personal information and CPNI.
14           178. AT&T intentionally misled Mr. Shapiro regarding its data security
15   practices in order to maintain his business and evade prosecution for its unlawful
16   acts.
17           179. AT&T’s representations that it protected customers’ personal
18   information, when in fact it did not, were false, deceptive, and misleading and
19   therefore a violation of the FCA.
20           180. On August 9, 2019, Mr. Shapiro sent written notice via certified mail
21   to AT&T of his intent to file an action for damages for the claims that follow based
22   the allegations described herein.
23   VI.     CLAIMS FOR RELIEF
24                                      COUNT I
           Violations of The Federal Communications Act, 47 U.S.C. § 201 et seq.
25
             181. Plaintiff Mr. Shapiro realleges and incorporates all of the preceding
26
     paragraphs as though fully set forth in this cause of action.
27
             182. AT&T has violated 47 U.S.C. § 222(a) by failing to protect the
28
     confidentiality of Mr. Shapiro’s CPNI, as detailed herein.
                                       44
                             AMENDED CIVIL COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 33 Filed 05/29/20 Page 46 of 59 Page ID #:484




1          183. AT&T has violated 47 U.S.C. § 222(c) by using, disclosing, and/or
2    permitting access to Mr. Shapiro’s CPNI without the notice, consent, and/or legal
3    authorization required under the FCA, as detailed herein. AT&T also caused
4    and/or permitted third parties to use, disclose, and/or permit access to Mr.
5    Shapiro’s CPNI without the notice, consent, and/or legal authorization required
6    under the FCA, as detailed herein.
7          184. As fully alleged above, Mr. Shapiro has suffered injury to his person,
8    property, health, and reputation as a consequence of AT&T’s violations of the FCA.
9    Additionally, Mr. Shapiro has suffered emotional damages, including severe
10   anxiety and depression, mental anguish, and suffering as a result of AT&T’s acts
11   and practices.
12         185. Mr. Shapiro seeks the full amount of damages sustained as a
13   consequence of AT&T’s violations of the FCA, together with reasonable attorneys’
14   fees, to be fixed by the Court and taxed and collected as part of the costs of the
15   case. Mr. Shapiro also moves for a writ of injunction or other proper process,
16   mandatory or otherwise, to restrain Defendant AT&T and its officers, agents, or
17   representatives from further disobedience of the 2007 and 2013 CPNI Orders, or to
18   compel their obedience to the same.
19                                     COUNT II
20      Violations of The California Unfair Competition Law (“UCL”) under the
                        Unlawful, Unfair and Fraudulent Prongs,
21               California Business & Professional Code § 17200 et seq.
22         186. Plaintiff Mr. Shapiro realleges and incorporates all of the preceding
23   paragraphs as though fully set forth in this cause of action.
24         187. California’s Unfair Competition Law (UCL) prohibits any “unlawful,
25   unfair or fraudulent business act or practice.” AT&T’s business acts and practices
26   complained of herein were unlawful, unfair, and fraudulent.
27         188. AT&T made material misrepresentations and omissions concerning its
28   sale of access to and safeguarding of Mr. Shapiro’s CPNI. As alleged fully above,
                                      45
                            AMENDED CIVIL COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 33 Filed 05/29/20 Page 47 of 59 Page ID #:485




1    a reasonable person would attach importance to the privacy of his sensitive account
2    data in determining whether to contract with a wireless cell phone provider.
3          189. AT&T had a duty to disclose the nature of its inadequate security
4    practices and failures in hiring, training, and supervising staff. AT&T had
5    exclusive knowledge of material facts not known or knowable to its customers and
6    AT&T actively concealed these material facts from its customers.
7          190. Further, additional disclosures were necessary to materially qualify
8    AT&T’s representations that it did not sell consumer data and took measures to
9    protect that data, and its partial disclosures concerning its use of customers’ CPNI.
10   AT&T was obligated to disclose its practices, as required by the FCA. The
11   magnitude of the harm suffered by Mr. Shapiro underscores the materiality of
12   AT&T’s omissions.
13         191. A reasonable person, such as Mr. Shapiro, would be deceived and
14   misled by AT&T’s misrepresentations, which indicated that AT&T would not sell,
15   and would in fact safeguard, its customers’ personal and proprietary information.
16         192. AT&T intentionally misled its customers regarding its data protection
17   practices in order to attract customers and evade prosecution for its unlawful acts.
18   Indeed, AT&T told Mr. Shapiro after each SIM swap attack that his account would
19   be safe from future breaches, and in reliance on those assurances, Mr. Shapiro did
20   not close his AT&T wireless account.
21         193. AT&T’s actions detailed herein constitute an unlawful business act or
22   practice. As alleged herein, AT&T’s conduct is a violation of the California
23   constitutional right to privacy, the FCA, and the CLRA.
24         194. AT&T’s actions detailed herein constitute an unfair business act or
25   practice.
26         195. AT&T’s conduct lacks reasonable and legitimate justification in that
27   Mr. Shapiro has been misled as to the nature and integrity of AT&T’s goods and
28   services and has suffered injury as a result.
                                      46
                            AMENDED CIVIL COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 33 Filed 05/29/20 Page 48 of 59 Page ID #:486




1          196. The gravity of the harm caused by AT&T’s practices far outweigh the
2    utility of AT&T’s conduct. AT&T’s practices were contrary to the letter and spirit
3    of the FCA and its corresponding regulations, which require cell carriers to
4    disclose customers’ CPNI only upon proper notice, consent, and authorization, and
5    aims to vest carrier customers with control over their data. Due to the surreptitious
6    nature of AT&T’s actions, Mr. Shapiro could not have reasonably avoided the
7    harms incurred as a result.
8          197. As the FCA establishes, it is against public policy to allow carrier
9    employees or other third parties to access, use, or disclose telecommunications
10   customers’ sensitive account information. The effects of AT&T’s conduct are
11   comparable to or the same as a violation of the FCA.
12         198. AT&T’s actions detailed herein constitute a fraudulent business act or
13   practice.
14         199. As established herein, Mr. Shapiro has suffered economic harm as a
15   result of AT&T’s unfair competition. Additionally, had AT&T disclosed the true
16   nature and extent of its data security and protection practices—and the flaws
17   inherent in its systems—and its unwillingness to properly protect its customers,
18   Mr. Shapiro would not have subscribed to or paid as much money for AT&T’s
19   wireless services.
20         200. Mr. Shapiro seeks injunctive and declaratory relief for AT&T’s
21   violations of the UCL. Mr. Shapiro seeks public injunctive relief against AT&T’s
22   unfair and unlawful practices in order to protect the public and restore to the
23   parties in interest money or property taken as a result of AT&T’s unfair
24   competition. Mr. Shapiro seeks a mandatory cessation of AT&T’s practices.
25                                      COUNT III
               Violations of the California Constitutional Right to Privacy
26
           201. Mr. Shapiro realleges and incorporates all of the preceding paragraphs
27
     as though fully set forth in this cause of action.
28

                                       47
                             AMENDED CIVIL COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 33 Filed 05/29/20 Page 49 of 59 Page ID #:487




1          202. The California Constitution declares that, “All people are by nature
2    free and independent and have inalienable rights. Among these are enjoying and
3    defending life and liberty, acquiring, possessing, and protecting property, and
4    pursuing and obtaining safety, happiness, and privacy.” Cal. Const. Art. I, § 1.
5          203. Mr. Shapiro has a reasonable expectation of privacy in his mobile
6    device and his AT&T account information. Mr. Shapiro reasonably expected that
7    AT&T would not access or divulge his CPNI without authorization in light of
8    AT&T policies and legal protections afforded to CPNI. Even before being SIM
9    swapped, Mr. Shapiro had a five digit pincode for his account that AT&T assured
10   him would protect his account from unauthorized changes. Mr. Shapiro received
11   verbal assurances from AT&T employees that his account would be protected from
12   additional SIM swaps after the first occurrence.
13         204. AT&T intentionally intruded on and into Mr. Shapiro’s solitude,
14   seclusion, or private affairs by allowing its employees and third parties to
15   improperly access Mr. Shapiro’s confidential CPNI without his permission. The
16   sensitivity of Mr. Shapiro’s CPNI is evidenced by its use to impersonate Mr.
17   Shapiro and intercept the contents of his private text messages and the contents of
18   his email accounts, financial accounts, and other accounts secured by private
19   passwords.
20         205. Mr. Shapiro had a reasonable expectation of privacy not only in his
21   CPNI but also in his online accounts that were accessed through use of his CPNI.
22   Mr. Shapiro had a passcode on his iPhone that protected the content of his text
23   messages; passwords on his email accounts that protected the content of his private
24   email correspondence with his spouse, family members, friends, and business
25   associates; passwords on his private notetaking application where he stored
26   personal and professional confidential information; and passwords on his financial
27   accounts that revealed his personal financial transactions, account balances, and
28   business activities.
                                      48
                            AMENDED CIVIL COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 33 Filed 05/29/20 Page 50 of 59 Page ID #:488




1          206. The reasonableness of Mr. Shapiro’s expectations of privacy is
2    supported by AT&T and its agents’ unique position to safeguard his account data,
3    including the sensitive and confidential information contained therein, and protect
4    Mr. Shapiro from SIM swap attacks.
5          207. AT&T and its agents’ intrusions into Mr. Shapiro’s privacy are highly
6    offensive to a reasonable person. This is evidenced by federal legislation enacted
7    by Congress and rules promulgated and enforcement actions undertaken by the
8    FCC aimed at protecting AT&T customers’ sensitive account data from
9    unauthorized use or access. The offensiveness of the intrusion into Mr. Shapiro’s
10   privacy was heightened by the motives of AT&T employees who sold access to Mr.
11   Shapiro’s mobile phone number and private data to hackers for criminal purposes.
12         208. The offensiveness of AT&T’s conduct is also heightened by its
13   material misrepresentations to Mr. Shapiro concerning the safety and security of
14   his account.
15         209. Mr. Shapiro suffered great personal and financial harm by the
16   intrusion into his private affairs, as detailed throughout this Complaint.
17         210. AT&T’s actions and conduct complained of herein were a substantial
18   factor in causing the harm suffered by Mr. Shapiro. But for AT&T employees’
19   involvement in a conspiracy to rob Mr. Shapiro, and AT&T’s failure to protect Mr.
20   Shapiro from such harm through adequate security and oversight systems and
21   procedures, Mr. Shapiro would not have had his personal privacy repeatedly
22   violated and would not have been a victim of SIM swap theft.
23         211. As a result of AT&T’s actions, Mr. Shapiro seeks nominal and
24   punitive damages in an amount to be determined at trial. Mr. Shapiro seeks
25   punitive damages because AT&T’s actions were malicious, oppressive, and willful.
26   AT&T knew or should have known about the risks faced by Mr. Shapiro, and the
27   grave consequences of such risks. Nonetheless, AT&T utterly failed to protect Mr.
28

                                      49
                            AMENDED CIVIL COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 33 Filed 05/29/20 Page 51 of 59 Page ID #:489




1    Shapiro – instead allowing its employees to profit to his detriment. Punitive
2    damages are warranted to deter AT&T from engaging in future misconduct.
3                                         COUNT IV
4                                         Negligence
           212. Mr. Shapiro realleges and incorporates all of the preceding paragraphs
5
     as though fully set forth in this cause of action.
6
           213.    AT&T owed a duty to Mr. Shapiro—arising from the sensitivity of his
7
     AT&T account information and the foreseeability of harm to Mr. Shapiro should
8
     AT&T fail to safeguard and protect such data—to exercise reasonable care in
9
     safeguarding his sensitive personal information. This duty included, among other
10
     things, designing, maintaining, monitoring, and testing AT&T’s and its agents’,
11
     partners’, and independent contractors’ systems, protocols, and practices to ensure
12
     that Mr. Shapiro’s information was adequately secured from unauthorized access.
13
           214. Federal law and regulations, as well as AT&T’s privacy policy,
14
     acknowledge AT&T’s duty to adequately protect Mr. Shapiro’s confidential
15
     account information.
16
           215. AT&T owed a duty to Mr. Shapiro to protect his sensitive account data
17
     from unauthorized use, access, or disclosure. This included a duty to ensure that
18
     his CPNI was only used, accessed, or disclosed with proper consent.
19
           216. AT&T owed a duty to Mr. Shapiro to implement a system to safeguard
20
     against and detect unauthorized access to Mr. Shapiro’s AT&T data in a timely
21
     manner.
22
           217. AT&T owed a duty to Mr. Shapiro to disclose the material fact that its
23
     data security practices were inadequate to safeguard Mr. Shapiro’s AT&T account
24
     data from unauthorized access by its own employees and others.
25
           218. AT&T had a special relationship with Mr. Shapiro due to its status as
26
     his telecommunications carrier, which provided an independent duty of care.
27
28

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                             AMENDED CIVIL COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 33 Filed 05/29/20 Page 52 of 59 Page ID #:490




1    AT&T had the unique ability to protect its systems and the data it stored thereon
2    from unauthorized access.
3          219. Mr. Shapiro’s willingness to contract with AT&T, and thereby entrust
4    AT&T with his confidential and sensitive account data, was predicated on the
5    understanding that AT&T would undertake adequate security and consent
6    precautions.
7          220. AT&T breached its duties by, inter alia: (a) failing to implement and
8    maintain adequate security practices to safeguard Mr. Shapiro’s AT&T account and
9    data—including his CPNI—from unauthorized access, as detailed herein; (b)
10   failing to detect unauthorized access in a timely manner; (c) failing to disclose that
11   AT&T’s data security practices were inadequate to safeguard Mr. Shapiro’s data;
12   (d) failing to supervise its employees and prevent employees from accessing and
13   utilizing Mr. Shapiro’s AT&T account and data without authorization; and (e)
14   failing to provide adequate and timely notice of unauthorized access.
15         221. AT&T was also negligent in its authorization of Mr. Shapiro’s SIM
16   card swap. AT&T knew or should have known that at least forty different AT&T
17   numbers had been moved to the same cell phone (identified by its IMEI) in the
18   months leading up to Mr. Shapiro’s first SIM swap. AT&T knew or should have
19   known that this was highly suspicious. Nevertheless, AT&T effectuated the
20   transfer of Mr. Shapiro’s AT&T account to this same cell phone. AT&T had the
21   technical capacity to track this behavior—as reflected in its willingness to do so for
22   law enforcement—but nonetheless failed to utilize it for the benefit and protection
23   of Mr. Shapiro.
24         222. But for AT&T’s breaches of its duties, Mr. Shapiro’s data would not
25   have been accessed by unauthorized individuals.
26         223. Mr. Shapiro was a foreseeable victim of AT&T’s inadequate data
27   security practices and consent mechanisms. As alleged fully above, AT&T knew or
28   should have known that SIM swaps presented a serious threat to its customers,
                                      51
                            AMENDED CIVIL COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 33 Filed 05/29/20 Page 53 of 59 Page ID #:491




1    including Mr. Shapiro, before Mr. Shapiro’s account was breached for the first
2    time. AT&T also knew or should have known that Mr. Shapiro was at a heightened
3    risk after (1) he informed AT&T employees that he had digital currency accounts, a
4    risk factor AT&T has acknowledged, and (2) he had previously been the target of
5    SIM swap attacks. AT&T also knew that improper procedures and systems to
6    safeguard customer data could allow its employees to authorize customers’
7    accounts and data and sell that to third parties, as occurred in the 2015 FCC
8    enforcement action.
9           224. AT&T knew or should have known that unauthorized accesses would
10   cause damage to Mr. Shapiro. AT&T admitted that unauthorized account access
11   presents a significant threat to its customers, and became aware during its 2015
12   FCC enforcement action of the harms caused by unauthorized account access.
13          225. AT&T’s negligent conduct provided a means for unauthorized
14   individuals to access Mr. Shapiro’s AT&T account data, take over control of his
15   wireless phone, and use such access to hack into numerous online accounts in
16   order to rob Mr. Shapiro and steal his personal information.
17          226. As a result of AT&T’s failure to prevent unauthorized accesses, Mr.
18   Shapiro suffered grave injury, as detailed herein, including severe emotional
19   distress. This emotional distress arose out of AT&T’s breach of its legal duties. The
20   damages Mr. Shapiro suffered were a proximate, reasonably foreseeable result of
21   AT&T’s breaches of its duties.
22          227. Therefore, Mr. Shapiro is entitled to damages in an amount to be
23   proven at trial.
24                                      COUNT V
25                         Negligent Supervision and Entrustment
            228. Mr. Shapiro realleges and incorporates all of the preceding paragraphs
26
     as though fully set forth in this cause of action.
27
28

                                       52
                             AMENDED CIVIL COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 33 Filed 05/29/20 Page 54 of 59 Page ID #:492




1          229. AT&T conducts its business activities through employees or other
2     agents, including AT&T contract attorneys.
3          230. AT&T is liable for harm resulting from its agents’ and employees’
4     conduct because AT&T was reckless or negligent in employing and/or entrusting
5     employees—including, but not limited to, White and Jack—in work involving the
6     risk of harm to others, including Mr. Shapiro.
7          231. As alleged herein, AT&T knew or had reason to believe that its
8     employees—including Jack and/or White—were unfit and nonetheless failed to
9     exercise reasonable care in properly investigating Jack and/or White. AT&T was
10    negligent in supervising these employees and in entrusting them with what it knew
11    to be highly sensitive confidential information. AT&T knew or had reason to
12    know that its employees—including, but not limited to, White and Jack—were
13    likely to harm others in view of the work AT&T entrusted to them.
14         232. As alleged by law enforcement, White conducted 29 unauthorized
15    SIM swaps and Jack conducted 12 swaps in the same month of Mr. Shapiro’s first
16    two SIM swaps. Nonetheless, on information and belief, AT&T failed to take
17    appropriate action to prevent additional harm to its customers, including Mr.
18    Shapiro. Additionally, AT&T was aware that Jack and White had the ability to
19    access its customers’ accounts, including Mr. Shapiro’s account, and conduct SIM
20    swaps, even without proper customer authorization. Nonetheless, AT&T failed to
21    put any additional protections on customer accounts to prevent such swaps.
22         233. Upon information and belief, AT&T failed to exercise due care in
23    selecting its employees, and thereby negligently or reckless employed Jack and
24    White to do acts—including accessing customer accounts and effectuating SIM
25    swaps—which necessarily brought them in contact with others, including Mr.
26    Shapiro, while in the performance of those duties.
27         234. AT&T’s acts, as alleged herein, were negligent in that they created the
28    risk of White’s and Jack’s criminal acts.
                                      53
                            AMENDED CIVIL COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 33 Filed 05/29/20 Page 55 of 59 Page ID #:493




1          235. Unauthorized account access and SIM swapping, the particular risks
2     and hazards that Mr. Shapiro was exposed to, are tied to AT&T’s negligence and
3     recklessness in employing, and continuing to employee through the time of Mr.
4     Shapiro’s injury, Jack and White.
5          236. AT&T also failed to properly supervise its employees, and instead
6     continued to negligently entrust them with sensitive customer data. Had AT&T
7     fired Jack and White when they first began to exhibit suspicious SIM swap
8     activity—including but not limited to an irregularly high number of SIM swaps in
9     a short period of time—Mr. Shapiro would not have been injured.
10         237. Had AT&T built a system to effectively authenticate and verify
11    consumer consent before allowing employees to access their CPNI—as required
12    by the FCA—Mr. Shapiro would not have been injured.
13         238. Had AT&T prevented individual employees from unilaterally
14    changing customer’s SIM swaps without proper oversight, Mr. Shapiro would not
15    have been injured.
16         239. In sum, AT&T gave its employees the tools and opportunities they
17    needed to gain unauthorized access to Mr. Shapiro’s account and failed to prevent
18    them from doing so, thereby allowing them to use AT&T’s systems to perpetuate
19    privacy breaches and thefts against Mr. Shapiro.
20         240. Jack’s and/or White’s actions have a causal nexus to their
21    employment. Mr. Shapiro’s injuries arose out of his contract with AT&T as his
22    carrier, and AT&T’s resulting access to his CPNI and account data. The risk of
23    injury to Mr. Shapiro was inherent in the AT&T working environment.
24         241. Mr. Shapiro’s injury was also foreseeable. As alleged fully above,
25    AT&T was aware of the risks that SIM swaps presented to their customers. AT&T
26    was also aware that its customers’ accounts were vulnerable to unauthorized
27    access to and sale by its own employees, as demonstrated in the 2015 FCC
28    enforcement action. AT&T was aware that Mr. Shapiro was at a heightened risk
                                     54
                           AMENDED CIVIL COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 33 Filed 05/29/20 Page 56 of 59 Page ID #:494




1     due to his possession of cryptocurrency and the previous unauthorized SIM swaps
2     conducted in his AT&T account. Nonetheless, AT&T failed to take appropriate
3     steps to protect Mr. Shapiro, in violation of its duty.
4                                         COUNT VI
5              Violations of California’s Consumers Legal Remedies Act (“CLRA”),
                             California Civil Code § 1750 et seq.
6
            242. Mr. Shapiro realleges and incorporates all of the preceding paragraphs
7
     as though fully set forth in this cause of action.
8
            243. As an AT&T customer, Mr. Shapiro engaged in transactions with
9
     AT&T concerning his wireless service. Mr. Shapiro sought and acquired services
10
     from AT&T for his personal, family and household purposes.
11
            244. AT&T has engaged in unfair methods of competition and unfair or
12
     deceptive acts or practices intended to result and which did result in the sale of
13
     wireless services to Mr. Shapiro, as detailed herein.
14
            245. AT&T’s acts and representations concerning the safeguards it employs
15
     to protect consumer account data—including Mr. Shapiro’s data—is likely to
16
     mislead reasonable consumers, including Mr. Shapiro, as detailed herein.
17
            246. AT&T has represented that its goods or services have characteristic
18
     and/or benefits that they do not have. Specifically, AT&T represented that, in
19
     purchasing AT&T wireless cell service and using AT&T-compatible phones, Mr.
20
     Shapiro’s confidential data would be safeguarded and protected.
21
            247. In actuality, as alleged fully above, AT&T’s wireless service did not
22
     protect and/or safeguard Mr. Shapiro’s data from unauthorized access, and AT&T’s
23
     employees did in fact sell access to customers’ personal information, as detailed
24
     herein.
25
            248. AT&T’s misrepresentations and omissions concerning its safeguarding
26
     of customers’ data were materially misleading. As alleged fully above, a
27
     reasonable person would attach importance to the privacy of his sensitive account
28
     data in determining whether to contract with a wireless cell phone provider.
                                       55
                             AMENDED CIVIL COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 33 Filed 05/29/20 Page 57 of 59 Page ID #:495




1          249. AT&T was obligated to disclose the shortcomings of its data
2    protection practices, as AT&T had exclusive knowledge of material facts not
3    known or knowable to its customers, AT&T actively concealed these material facts
4    from its customers, and such disclosures were necessary to materially qualify its
5    representations that it did not sell and took measures to protect consumer data and
6    its partial disclosures concerning its use of customers’ CPNI. Further admissions
7    were necessary to prevent AT&T’s statements from misleading the public in light
8    of the undisclosed facts concerning its security procedures. Knowledge of these
9    security shortcomings would be important to any reasonable consumer, and had the
10   omitted information been disclosed Mr. Shapiro would have been aware of it and
11   behaved differently.
12         250. Further, AT&T was obligated to disclose its practices—by seeking
13   consent beforehand or informing customers of breaches in the aftermath—under
14   the FCA.
15         251. AT&T’s actions and conduct complained of herein were a substantial
16   factor in causing the harm suffered by Mr. Shapiro, as alleged fully above.
17         252. On August 9, 2019, Mr. Shapiro sent written notice via certified mail
18   to AT&T regarding his intent to file an action for damages based on, in part,
19   AT&T’s violations of the CLRA, including AT&T’s misrepresentations and
20   omissions concerning its safeguarding of customers’ data.
21         253. Mr. Shapiro seeks injunctive relief, damages—including actual,
22   statutory, and punitive damages—and attorneys’ fees for AT&T’s violations of the
23   CLRA. Plaintiff seeks public injunctive relief against AT&T’s unfair and unlawful
24   practices in order to protect the public and restore to the parties in interest money
25   or property taken as a result of AT&T’s unfair methods of competition and unfair
26   or deceptive acts or practices. Mr. Shapiro seeks a mandatory cessation of AT&T’s
27   practices and proper safeguarding of confidential customer account data.
28

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                            AMENDED CIVIL COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 33 Filed 05/29/20 Page 58 of 59 Page ID #:496




1                                        COUNT VII
                      Violation of the Computer Fraud and Abuse Act
2                                      18 U.S.C. § 1030
3          254. Mr. Shapiro realleges and incorporates all of the preceding paragraphs
4    as though fully set forth in this cause of action.
5          255. Mr. Shapiro’s mobile device is capable of connecting to the Internet.
6          256. AT&T employees, Jack and/or White, in the scope of their
7    employment, intentionally accessed Mr. Shapiro’s mobile device, and assisted
8    others in accessing his mobile device, without Mr. Shapiro’s authorization, in order
9    to assist hackers in their theft from Mr. Shapiro.
10         257. The AT&T employees, Jack and/or White, took these actions knowing
11   that they would cause damage to Mr. Shapiro’s mobile device, as well as damage
12   to the information located on his mobile device.
13         258. The AT&T employees, Jack and/or White, caused Mr. Shapiro’s
14   mobile device and much of the data on it to be unusable to him.
15         259. Because of the AT&T employees’ actions, Mr. Shapiro suffered
16   damage to his mobile device and damage to information on his mobile device,
17   including being unable to access information and data on his mobile device and
18   being unable to access his personal accounts, including his personal (e.g. Evernote
19   and G-mail) and financial (e.g. cryptocurrency and PayPal) accounts.
20         260. The act of swapping Mr. Shapiro’s AT&T wireless SIM card was in
21   the scope of the AT&T employees’ work.
22         261. Further, Mr. Shapiro spent in excess of $5,000 investigating who
23   accessed his mobile device and damaged information on it.
24 VII.     PRAYER FOR RELIEF
25         262. WHEREFORE, Plaintiff Seth Shapiro requests that judgment be
26   entered against Defendant and that the Court grant the following:
27         A.     Judgment against Defendant for Plaintiff’s asserted causes of action;
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                             AMENDED CIVIL COMPLAINT
Case 2:19-cv-08972-CBM-FFM Document 33 Filed 05/29/20 Page 59 of 59 Page ID #:497




1          B.     Public injunctive relief requiring cessation of Defendant’s acts and
2                 practices complained of herein pursuant to, inter alia, Cal. Bus. &
3                 Prof. Code § 17200, 47 U.S.C. § 401(b), and Cal. Civ Code § 1780;
4          C.     Pre- and post-judgment interest, as allowed by law;
5          D.     An award of monetary damages, including punitive damages, as
6                 allowed by law;
7          E.     Reasonable attorneys’ fees and costs reasonably incurred, including
8                 but not limited to attorneys’ fees and costs pursuant to 47 U.S.C. §
9                 206; and
10         F.     Any and all other and further relief to which Plaintiff may be entitled.
11                             DEMAND FOR JURY TRIAL
12          Plaintiff demands a trial by jury of all issues so triable.
13
14    Dated: May 29, 2020                      Respectfully submitted,

15
16
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                             AMENDED CIVIL COMPLAINT
